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                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

                                                 Case No.: 16-20897-CR-SEITZ

   UNITED STATES OF AMERICA

                       v.

   PRINCESS CRUISE LINES, LTD.,

                     Defendant.
   ________________________________/

                                                         QUARTERLY REPORT

                              OF THE COURT APPOINTED MONITOR (DECEMBER 2019)

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   I.     INTRODUCTION

          Consistent with the Court’s Order of April 26, 2018, Dkt. No. 66, the Court Appointed

   Monitor (“CAM”)1 submits this second Quarterly Report for Year Three of the Environmental

   Compliance Plan (“ECP”) (“CAM December 2019 Quarterly Report” or “Report”).2 This

   Report focuses on developments during the second quarter of ECP Year Three: July 19, 2019 –

   October 18, 2019.3 However, notable developments since the end of this period are included

   below.4

          A.      Executive Summary

                  1.     Roadmap

          The Court ordered that the CAM submit Quarterly Reports to provide updates on the

   monitorship and to address issues identified by the Court and the CAM. See Dkt. No. 62; Status

   Conf. Tr. at 32-33, 42-45, 93-95 (Apr. 3, 2018).


   1
    The CAM is Steven P. Solow, a partner at the law firm Baker Botts LLP (“Baker Botts”). The
   CAM retained, inter alia, Baker Botts and the marine consulting firm Martin & Ottaway as
   advisors to the CAM (collectively, the “CAM Team”).
   2
     Any terms not defined in this Report take the definitions provided in the ECP, the Joint
   Glossary of Terms, Dkt. No. 58-1, or prior CAM Reports. The CAM has submitted the
   following reports: (1) First Annual Report of the Court Appointed Monitor (2017-2018) (June
   21, 2018), Dkt. No. 105 (“CAM First Annual Report”); (2) Quarterly Report of the Court
   Appointed Monitor (September 2018) (Sept. 21, 2018), Dkt No. 114 (“CAM September 2018
   Quarterly Report”); (3) Quarterly Report of the Court Appointed Monitor (December 2018)
   (Dec. 18, 2018), Dkt No. 115 (“CAM December 2018 Quarterly Report”); (4) Quarterly Report
   of the Court Appointed Monitor (April 2019) (Apr. 2, 2019), Dkt No. 116 (“CAM April 2019
   Quarterly Report”); (5) Second Annual Report of the Court Appointed Monitor (April 19, 2018-
   April 18, 2019) (July 3, 2019), Dkt. No. 150 (“CAM Second Annual Report”); and (6) Quarterly
   Report of the Court Appointed Monitor (September 2019) (Sept. 18, 2019), Dkt No. 166 (“CAM
   September 2019 Quarterly Report”).
   3
     ECP Year Three is April 19, 2019, through April 18, 2020. ECP Year Two was April 19, 2018,
   through April 18, 2019, and ECP Year One was April 19, 2017, through April 18, 2018.
   4
    The CAM provided the Company and the United States Department of Justice (“DOJ”) a copy
   of this Report in advance of its submission. The CAM took comments from these parties into
   account; however, the comments did not alter the substance of the Report.


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          Part I.A. of this Report is an Executive Summary, including: (1) a roadmap of the

   Report; and (2) a summary of notable developments and CAM observations during this ECP

   quarter. Part I.B goes over recent case developments, including updates on: (1) the Company’s

   performance of commitments under the agreement resolving the probation violations to which it

   pleaded guilty; (2) the Status Conference held on October 2, 2019; (3) the Court’s Order

   regarding the upcoming meeting scheduled for December 19, 2019; and (4) the metrics and

   targets on environmental compliance that the Court ordered the Company and DOJ to jointly

   develop.

          Part II of this Report gives an overview of the CAM Team’s activities during this ECP

   quarter, including observations from the oversight of the external audit function performed by

   the Third Party Auditor (“TPA”)5 and the internal audit function performed by the Company’s

   Risk Advisory and Assurance Services (“RAAS”) group.

          Finally, Part III of this Report provides updates on the Company’s capabilities to meet

   ECP objectives, see ECP § VI.F.3.b,6 and its performance in other areas of focus identified by

   the Court and the CAM. See CAM Second Annual Report at 8-11, 110-12. This Report does not

   provide the more detailed assessments or findings that the CAM will provide in the Annual

   Report for ECP Year Three.




   5
     The TPA is ABSG Consulting Inc. (“ABSG”), an advisory and technical services provider for
   the marine and other sectors. The TPA has submitted the following annual reports: (1) Third
   Party Auditor Year One Annual Report (June 18, 2018) (“TPA First Annual Report”); and
   (2) Third Party Auditor Year Two Annual Report (July 3, 2019), Dkt. No. 153 (“TPA Second
   Annual Report”).
   6
    Unless otherwise specified, all citations to the ECP in this Report are to the second amended
   version that went into effect on June 3, 2019.


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                  2.       Summary

          The final day of this ECP quarter—October 18, 2019—was a milestone. It marked the

   end of the first half of the five-year probationary period. During this quarter, the Company

   continued to devote significant efforts toward addressing its ongoing compliance challenges,

   including in the areas of: corporate compliance re-structuring; investigations; food waste

   management; training; and other initiatives. As discussed in Part III of this Report, updates from

   this quarter include:

                                   Culture Survey and Assessment

             On August 28, 2019, the CAM’s retained maritime culture survey expert, PROPEL
              SAYFR AS (“Propel”), provided the Company and the CAM with the final report of
              its Environmental Compliance Culture Assessment. The assessment was based on a
              survey of over seventy thousand Company employees carried out from approximately
              December 2018 through January 2019 to measure the Company’s environmental
              compliance culture. As discussed in the most recent CAM report, the assessment
              found that employees identify the Company as a whole, as well as the individual
              brands/operating lines, as having a compliance culture with a low level of
              Organizational Culture Maturity (classified as “Apathetic” or “Defeatist”) and
              significant potential for improvement—especially in the Leadership Behavior areas of
              Trust, Care, and Openness. These findings are consistent with those of other prior
              Company surveys and third-party reviews. See CAM September 2019 Quarterly
              Report at 19-22.

             From September through December 2019, Propel presented the assessment findings
              to various Company groups, including the Executive Leadership Team and each of
              the Company’s four operating lines. See infra, Part III.A.

             The Company has determined that it needs an action plan developed by an outside
              consultant to respond to the assessment findings. More than three-and-a-half months
              have now passed since the final report was released. To the best of the CAM’s
              knowledge, the Company has not yet finalized its action plan or announced concrete
              steps it will take to address the findings. See id.

                                  Corporate Compliance Structure

             In pleading guilty in June 2019 to a violation of probation for failing to provide the
              Environmental Corporate Compliance Manager with ECP-required authority, the
              Company committed to restructure its corporate compliance function. As discussed
              in prior CAM reports, the Company has since undertaken a number of required


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             actions, including appointing a Chief Ethics and Compliance Officer, promoting the
             Environmental Corporate Compliance Manager, and submitting, on September 13,
             2019, an action plan for re-structuring its corporate compliance function. See CAM
             September 2019 Quarterly Report at 30-43.

            During the current ECP quarter, the Company submitted three updates to its
             September 13, 2019, action plan:

                o (1) a general update, submitted on October 9, 2019, reflecting changes since
                  the September submission, including a curriculum for the annual training
                  program for the Carnival Corporation and Carnival plc (“Carnival Corp.”)
                  Boards of Directors (or “Boards”) and a statement on compliance from the
                  Boards;

                o (2) a supplement, submitted on November 1, 2019, containing the Company’s
                  preliminary financial plan for its Ethics and Compliance Program for fiscal
                  years 2019 and 2020, along with a preliminary roster of Ethics and
                  Compliance Program personnel and list of Ethics and Compliance Program
                  functional leaders; and

                o (3) an additional supplement, submitted on December 10, 2019, containing the
                  Company’s final financial plan for its Ethics and Compliance Program for
                  fiscal years 2019 and 2020, along with an updated roster and list of functional
                  leaders. See infra, Part III.B.

            Overall, these action plan submissions describe substantial efforts toward putting in
             place the people, funding, structures, and systems for the corporate compliance
             function. Much remains a work in progress. As the Environmental Compliance
             Culture Assessment illuminated, it will be necessary for the Company’s top
             leadership (i.e., the President and Chief Executive Officer (“CEO”) and Boards of
             Directors) to take personal responsibility for promoting a culture of compliance for
             these efforts to succeed. See id.

            Going forward, increasing areas of focus for the CAM will include the issues
             highlighted in the Court’s Order of October 31, 2019, discussed infra, Part I.B.3:
             leadership communications regarding environmental compliance as a core value;
             adequacy of staffing on ships; integration of environmental compliance into financial
             and strategic planning processes; use of data assessment processes to support learning
             and continuous improvement; and the role of management of change principles in
             these and other efforts. See id.

                                           Investigations

            In ECP Year One, the CAM made a finding that the Company’s internal
             investigations are “critically flawed.” See CAM First Annual Report at 5. The TPA
             made a similar finding. See TPA First Annual Report at 3. As discussed in prior
             CAM reports, in September 2018, the Company committed to the Court that it would


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             improve its investigations program through a number of proposed actions and
             associated timetables, including the revision of relevant procedures, over the
             remaining quarter of 2018 through the second quarter of 2019. See CAM September
             2019 Quarterly Report at 44-47. These proposed timetables lapsed while the
             Company sought to hire someone to lead a new Incident Analysis Group to take over
             responsibility for what are deemed to be significant Health, Environmental, Safety, &
             Security (“HESS”) investigations. See id. at 46. This individual was hired as the
             Vice President of the Incident Analysis Group in late March 2019. See id.

            More than halfway through the probationary period, the Company’s efforts to
             improve its internal investigations function remain a work in progress. For instance,
             the Company has yet to finalize its revised investigation procedures, which had an
             initial target date of September 30, 2018 (in the September 2018 proposal submitted
             to the Court), and a revised target date of September 16, 2019 (in a September 2019
             correspondence with the CAM). See id. at 51.

            From November 11-14, 2019, an outside consultant retained by the Company held a
             training on causal analysis for Incident Analysis Group investigators and management
             at the Company’s Miami, Florida offices. Members of the CAM Team attended a
             short overview of the training, provided by the consultant, after it was completed.
             Attendee feedback on the course to the CAM Team was largely positive. In addition,
             around mid-December 2019, the Company rolled out a computer-based root cause
             analysis training module to be provided to shipboard and shoreside personnel that
             conduct what are deemed to be less significant HESS investigations. See infra, Part
             III.C.

            Other developments underway include: finalization of revised investigation
             procedures, which had a target completion date of September 16, 2019; development
             of new procedures for investigator accreditation and competency development, which
             had a target completion date of September 16, 2019; efforts to fill a vacant Incident
             Analysis Group investigator position following the promotion of one investigator; and
             efforts to address data management and information technology (“IT”) challenges.
             See id.

            The CAM Team continues to review HESS incident investigation reports from the
             Incident Analysis Group, brands/operating lines, and ships. Some of the factual and
             technical assessments in the Incident Analysis Group reports have improved, but may
             still fail to address broader, systemic concerns or share lessons learned. The
             brand/operating line and ship investigation reports continue to vary widely in both
             substance and format. See id.

            Going forward, increasing areas of focus for the CAM will include: the division of
             authority between key corporate leaders, including the Vice President of the Incident
             Analysis Group, the Chief Maritime Officer, and the Chief Ethics and Compliance




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             Officer; and the integration of Incident Analysis Group investigations with
             brand/operating line, ship, and RAAS (non-HESS) investigations. See id.

                                    Food Waste Management

            In June 2019, the Company pleaded guilty to a probation violation for the illegal
             discharge of non-food items (including plastic) mixed with food waste into the ocean,
             along with an associated recordkeeping violation. As discussed in prior CAM
             reports, in connection with this guilty plea, the Company admitted the need to
             improve the management of food waste on its ships, and agreed to take various
             actions to prioritize this issue, including implementing a three-part program to
             improve its food waste management practices. See CAM September 2019 Quarterly
             Report at 60-67.

            During the current ECP quarter, the Company has continued to implement its food
             waste management improvement program, including:

                o (1) issuing a new procedure on food waste segregation and disposal that
                  streamlines and standardizes aspects of food waste management;

                o (2) retaining an outside consultant to perform a review of staffing levels to
                  support proper handling of food waste onboard, which is not expected to be
                  complete until April 2020;

                o (3) establishing a baseline (based on 2018 aggregated data for single-use
                  plastics procurement) for measurement against the goal of reducing single-use
                  plastics by 50% by December 31, 2021, with a plan to report on progress
                  semiannually in June and December;

                o (4) adopting a two-pronged approach to reducing single-use plastic items:
                  (i) a first prong focused on removing small items and items with obvious
                  substitutes, which had a goal of October 31, 2019; and (ii) a second prong
                  focused on removing all other single-use plastic items and reducing the use of
                  plastic water bottles;

                o (5) establishing a baseline (based on a food waste weighing project completed
                  on Company ships during the first two weeks of October 2019) for
                  measurement against the goal of reducing food waste by 10% by December
                  31, 2021, with a plan to report on progress semiannually in April and October;

                o (6) submitting a review and analysis of food waste disposal technologies,
                  systems, and processes, which finds that food waste digesters are likely to be
                  the Company’s best option;




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                 o (7) continuing to issue its weekly food waste dashboard; and

                 o (8) implementing a “Food Waste Shuffle” music video challenge. Winners
                   are currently being selected. See infra, Part III.D.

             Going forward, the CAM will examine the Company’s process for selecting and
              vetting shoreside waste vendors. The Company’s 2018 Sustainability Report touts
              the Company’s goal of further developing and implementing waste vendor assurance
              procedures. However, the Company has conceded that not all operating lines are
              following Company requirements for the vetting of waste offload vendors. See id.

             The CAM will also continue to monitor the Company’s testing, procurement, and use
              of food waste digesters (including its process for selecting and vetting vendors of
              equipment to be installed onboard), as well as its testing, treatment, and regulation of
              digester effluent. See id.

                                               Training

             The Company continues to invest resources in environmental and ECP training,
              including conducting environmental and compliance-related trainings at its state-of-
              the-art CSMART training center, and developing and rolling-out various IT tools.
              See infra, Part III.E.

             During this ECP quarter, in August and November 2019, CSMART held the first two
              iterations of a new five-day Environmental Excellence hybrid training/conference
              event for Environmental Officers. The program is designed to be challenge-based,
              rather than lecture-based, in an effort to make Environmental Officer training
              interactive and engaging. Overall, both events appeared to result in higher levels of
              engagement and collaboration by attendees over prior lecture-based trainings. The
              November course also contained several improvements over the August course, based
              on feedback from the CAM, TPA, and others. These changes appeared to result in
              smoother course facilitation, sustained high levels of engagement, and enhanced
              opportunities for attendees to directly provide feedback to shoreside personnel. See
              id.

             Going forward, an increasing area of focus for the CAM will be the potential role of
              CSMART in supporting culture change, beyond the boundaries of the facility. See id.

       Implementation of Enumerated ECP Requirements (ECP-Required Trend Analysis)

             The majority of the Company’s enumerated ECP requirements and associated
              deadlines took effect during ECP Years One and Two. For the current ECP quarter,
              the Company was required to conduct an incident trend analysis of “all Major Non-
              Conformities, significant Non-Conformities; recurring minor Non-Conformities and
              Observations; and identif[cation of] corrective actions taken or recommended,”
              including “an assessment of the contribution, if any, of the following factors to the



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              identified issues:” (a) human factors; (b) procedural-implementation tools; (c)
              equipment performance and faults; (d) parts ordering processes; (e) oversight; and (f)
              adequacy of the current pollution prevention equipment and an assessment of
              available technology. ECP § III.F.4

             On October 31, 2019, the Company submitted its ECP-required incident trend
              analysis and overview of corrective actions. Overall, the analysis may minimize the
              Company’s compliance challenges, rather than shine light on potential risk areas and
              areas for improvement. See infra, Part III.F.

                        Initiatives Beyond Enumerated ECP Requirements

             The Company continues to develop and implement initiatives that go beyond the
              enumerated ECP requirements, including initiatives related to:

                 o (1) IT systems and tools, with the Company taking steps to address its
                   recognized need for more centralized, modern, and data-driven strategies;

                 o (2) the Fleet Environmental Officer Program, which is still in the development
                   phase, with a search for a Director in progress;

                 o (3) efforts to improve the implementation of the Environmental Control
                   System (seal/lock/weld) program, including the Company’s commitment to
                   install electronic key management systems on ships to reduce the time, labor,
                   and potential for human error associated with certain program requirements.
                   The deadline for installing these systems was postponed from December 31,
                   2019, to September 1, 2020; and

                 o (4) other initiatives related to environmental compliance and sustainability,
                   ranging from policies, programs, surveys, IT projects, studies, trainings, and
                   other efforts. See infra, Part III.G.

             Going forward, a continuing area of focus for the CAM will be whether and how
              management of change principles are considered when new initiatives are launched.
              See id.

                                Environmental and ECP Violations

             The Company continues to violate environmental laws and the ECP, even while
              efforts aimed at compliance are underway. As the CAM has emphasized, while these
              incidents are concerning, the Company’s deeper and more pressing barriers to




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               compliance relate not to individual incidents on ships, but to the Company’s broader
               corporate leadership and culture issues. See infra, Part III.H.7

              The Company’s violations during this ECP quarter included incidents related to:

                   o (1) air emissions;

                   o (2) discharges to the sea, including Advanced Air Quality System washwater,
                     ballast water, black water (sewage), chemicals, food waste, grey water, oil,
                     recreational (e.g., pool/Jacuzzi) water, and solid items/garbage (including
                     plastics);

                   o (3) pollution prevention equipment maintenance and operation; and

                   o (4) recordkeeping, including an alleged training record falsification; an
                     unauthorized modification of a logbook with randomly adjusted numbers;
                     multiple instances of missing or inadvertently destroyed logbooks; and
                     various other errors and discrepancies discovered in log books and records. In
                     addition, the CAM remains concerned about incidents, discussed in the CAM
                     September 2019 Quarterly Report, which indicate that the Company may have
                     a systemic problem with the completeness and integrity of Planned
                     Maintenance System records across multiple ships.

              Going forward, the CAM will examine issues related to Advanced Air Quality
               Systems—including emission exceedances, prohibited washwater discharges, and
               equipment failures or malfunctions—as the new global marine fuel sulfur cap set by
               the Marine Environment Protection Committee of the International Maritime
               Organization goes into effect beginning January 1, 2020. See id.

           As the CAM has observed, much of the attention and focus on critical compliance

    matters by top leadership, including the Boards of Directors, did not occur until after a probation

    revocation petition was filed near the end of ECP Year Two. However, the Company and the

    Boards were on notice about the Company’s challenges in many of these areas as early as the

    first year of probation, if not earlier. As the Court observed at the October 2, 2019, Status




    7
      Although this Report, like prior CAM reports, identifies the ships involved in certain incidents,
    the Company’s compliance challenges are not limited to incidents occurring on the named ships.
    Rather, such incidents stem from the broader, systemic issues regarding the failure of the
    Company’s leadership to adequately support the ships and take appropriate action on
    compliance.


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    Conference, “a company of [Carnival Corp.’s] size will not turn on a dime, on October 19th we

    will be half way through the period of probation and I am concerned about where we are . . . I

    want to know that we are not going to drag this out until the end of probation.” Status Conf. Tr.

    at 15 (Oct. 2, 2019).

           A culture survey of over seventy thousand Company employees identified the crux of the

    Company’s compliance challenges as an issue of culture and leadership that stems from the very

    top. For years, the tone-at-the-top messaging has been centered on the value of delivering

    “joyful vacation experiences and breakthrough shareholder returns,” with comparatively little

    focus on the value of environmental compliance. See Carnival Corp., Mission & History,

    https://www.carnivalcorp.com/corporate-information/mission-and-history. These relative

    priorities were also made clear in practice—as evidenced, for instance, by the Company’s lack of

    a strong, centralized HESS compliance function comparable to its strong, centralized financial

    function. See CAM Second Annual Report at 71-85. Leadership and support for the goals of

    achieving guest satisfaction and strong financial performance are essential to the financial

    success of this industry-dominating cruise corporation; the Company’s challenge is to elevate

    compliance to the same level of leadership and support. To do so requires a change from the top

    that is authentic and credible, backed up by concrete actions to support compliance on the ships.

           The areas of need are not a mystery. The Company’s employees have repeatedly

    identified struggles with: adequate staffing of ships (including in the engine/technical

    departments); workload; training; IT support; equipment and other resources; financial pressures

    to avoid expenditures; diversity and inclusion; workplace harassment and discrimination; and

    other issues noted in reports from the CAM, TPA, Propel, and the Company’s own consultants.

    Without acceptance by top leadership of the need to change their understanding of, and approach



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    to, compliance, the Company appears unlikely to succeed in establishing a sustainable

    compliance culture—despite the sincere efforts underway by the Company’s many dedicated and

    talented employees both ship and shore.

           B.         Court Oversight

                      1.    Probation Agreement Deadlines

           As discussed in prior CAM reports, on June 3, 2019, the CEO of Carnival Corp. pleaded

    guilty on behalf of the Company to six violations of the terms and conditions of probation. See

    Dkt. No. 137 (Paperless Minute Entry); CAM Second Annual Report at 5-6, 86-94 (discussing

    the probation violations); CAM September 2019 Quarterly Report at 3-6. In doing so, and in a

    subsequent message to employees, the CEO, along with the members of the Executive

    Committee of the Carnival Corp. Boards of Directors, “t[ook] full responsibility for these

    violations.” See Important Message from Chairman Micky Arison and CEO Arnold Donald

    (July 1, 2019).

           The Court accepted an agreement between the Government and the Company to resolve

    the probation violations and avoid the need for an evidentiary hearing. See Proposed Agreement

    For The Court’s Consideration Resolving Superseding Petition For Summons For Offender

    Under Supervision Dated April 26, 2019, Dkt. No. 134 (proposed agreement); Dkt. No. 143

    (Order accepting agreement) (collectively, “Probation Agreement”). Both the Court and the

    Government have emphasized that the main impetus for the probation revocation petition was

    the failure of the Company’s top leadership to take appropriate action on environmental

    compliance. See CAM September 2019 Quarterly Report at 3.

           Under the terms of the Probation Agreement, the Company is required to undertake a

    range of remedial and other actions, including the following actions with deadlines falling within




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    the first two quarters of ECP Year Three and up until the date of this Report. Many of the

    actions listed below were described in the most recent CAM report. See id. at 4-6. Updates

    since the CAM September 2019 Quarterly Report are emphasized below in

    bold/underlined text:

              Corporate Compliance Consultant Recommendations (June 1, 2019): By June 1,
               2019, provide the Court, Interested Parties,8 CAM, and TPA with its outside
               corporate compliance consultant’s recommendations to improve its corporate
               compliance program. The Company provided these recommendations on June 1,
               2019. See Summary and Recommendations from Compliance Program Assessment
               (May 31, 2019); CAM Second Annual Report at 47-48 (discussing
               recommendations); see also infra, Part III.B (discussing the Company’s corporate
               compliance function re-structuring efforts);

              $20 Million Penalty (June 10, 2019): By June 10, 2019, pay an additional financial
               penalty of $20 million. The Company reports that this was paid on schedule. See
               Status Conf. Tr. at 16 (July 19, 2019);

              Special Condition of Probation 13(a) Reporting Process (June 30, 2019): By June
               30, 2019, submit for approval to the Interested Parties a proposed process for meeting
               the enhanced reporting requirements of the revised Special Condition of Probation
               13(a).9 The Company submitted its proposed process on June 28, 2019. See
               Proposed Process for Compliance with Special Condition of Supervision No. 13(a)
               (June 28, 2019). The Company has since made changes to its process, including:
               (1) discontinuing its practice of including near miss and passenger incident
               reports, in response to concerns expressed by DOJ; and (2) re-formatting the
               reports so that incidents of potentially higher significance (such as pollution
               prevention equipment issues, recordkeeping issues, prohibited liquid discharges,
               and prohibited air emissions) are listed first, and other incidents such as

    8
      The Interested Parties are “[t]he Government, the United States Probation Office for the
    Southern District of Florida [(“Probation Office”)], the Seventh Coast Guard District (dp), and
    the U.S. Coast Guard Office of Investigations & Analysis.” ECP § I.D.
    9
      As part of the Probation Agreement, the Judgment in this matter was amended to include a
    revised Special Condition of Probation 13 that establishes enhanced reporting requirements for
    the Company. Among other things, the Company must, under Special Condition of Probation
    13(a), inform the Interested Parties, CAM, and TPA of any: (i) breach of the ECP; (ii) breach of
    the plea agreement; (iii) violation of the conditions of probation; (iv) violation of any Marine
    Environmental Protection Requirement; (v) violation of any applicable United States (federal or
    state) environmental law; (vi) violation of certain international maritime environmental law
    conventions; or (vii) credible allegations, including Environmental Open (Hotline) Reports, of
    violations of the ECP or environmental law. See Dkt. No. 134, at 12-13 (Ex. B).


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              “incidents caused by contractors/third parties, non-[ozone depleting substance]
              refrigerant leaks, crewmember unintentional MARPOL Annex V incidents, and
              unintentional Environmental Control System seal breaks were listed on the
              second page of the excel sheet.” See RE: U.S. v. Princess Cruise Lines Ltd. -
              Special Condition No. 13 (13 DEC 19) (Dec, 13, 2019). The CAM understands that
              the Company is continuing to evaluate and may modify, as necessary and in
              consultation with the Interested Parties, its approach to reporting under Special
              Condition of Probation 13(a);

             Interim Progress Reports (July 1, 2019 and August 1, 2019). By July 1, 2019, and
              August 1, 2019, respectively, file monthly interim reports on the Company’s progress
              toward completing a proposed action plan to restructure its existing corporate
              compliance function. The Company filed these reports on July 1, 2019, and August
              1, 2019. See Interim Progress Report on Probation Settlement Goals (July 1, 2019),
              Dkt. No. 149; Interim Progress Report on Probation Settlement Goals (Aug. 1,
              2019);

             Management Acceptance of Responsibility Statement (July 3, 2019): By July 3,
              2019, issue a statement to all Company employees in which the CEO of Carnival
              Corp. (and other senior management if they so choose) accepts management
              responsibility for the probation violations. The Company issued this statement on
              July 1, 2019. See Important Message from Chairman Micky Arison and CEO Arnold
              Donald (July 1, 2019) (stating that “Chairman [Micky] Arison, Mr. [Stuart]
              Subotnick and I [Arnold Donald] take full responsibility for these violations”);

             Food Waste Management Implementation Plan (August 1, 2019): By August 1,
              2019, provide the Interested Parties, CAM, and TPA with an implementation plan
              specifying the project, project owner, and timetables for Part One of its three-part
              program addressing food waste management issues. The Company provided this plan
              on August 1, 2019. See Food Waste Task Force: Tiger Team Report,
              Recommendations, and Implementation Plan (Aug. 1, 2019) (“Food Waste
              Management Implementation Plan”). On September 4, 2019, the Company provided
              the Interested Parties, CAM, and TPA with an update to the Food Waste Management
              Implementation Plan. See Cover Letter, Tiger Team Implementation Plan (Sept. 4,
              2019), PCL_ECP00134212-14 (“Cover Letter”); Tiger Team Implementation Plan
              Update, PCL_ECP00134215-19 (“Update”); see also infra, Part III.D (discussing the
              Company’s food waste management efforts);




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             Unified Regulatory Reporting Policy (draft by August 2, 2019; final by
              September 22, 2019): By August 2, 2019, submit for review to the Interested
              Parties, CAM, and TPA a new draft internal policy in the Company’s Environmental
              Management System governing the reporting requirements for discharges according
              to United States federal and state laws; and by September 22, 2019, issue the final
              policy. The Company provided the draft policy on July 31, 2019. See Submission of
              new Environmental Management System policy governing reporting requirements for
              discharges according to United States federal and state laws per Section VI. Unified
              Regulatory Reporting Policy (July 31, 2019), PCL_ECP00124954-56; [Draft] COM-
              1103 United States Environmental Reporting Requirements, PCL_ECP00124889-90;
              [Draft] COM-1103-A1 United States Environmental Regulatory Requirements
              Details, PCL_ECP00124891-928; [Draft] Flag State Reporting Requirements,
              PCL_ECP00124881-88; Draft Vessel External Reporting Policy Sources,
              PCL_ECP00124929-53 (collectively, “Proposed Unified Regulatory Reporting
              Policy”). The CAM and TPA provided joint comments on the Proposed Unified
              Regulatory Reporting Policy on August 23, 2019. See RE: U.S. v. Princess Cruise
              Lines, Ltd. – 1:16-cr-20897 - Unified Regulatory Reporting Policy (Aug. 23, 2019);
              see also CAM September 2019 Quarterly Report at 93-95 (discussing the proposed
              policy and joint comments). The final policy was published on the Company’s
              internal Global HESS system on September 19, 2019. See COM-1103 United
              States Environmental Reporting Requirements; COM-1103-A1 United States
              Environmental Regulatory Requirement Details; COM-1102-A1 Flag State
              Reporting Requirements (collectively, “Unified Regulatory Reporting Policy”);

             Proposed Action Plan for Corporate Compliance Re-Structuring (August 14,
              2019): By August 14, 2019, submit for review to the Court, Interested Parties, CAM,
              and TPA a proposed action plan to restructure its existing corporate compliance
              function. The Company provided this proposed plan on August 14, 2019. See
              Carnival Ethics and Compliance Submission (“Proposed Submission Letter”);
              Attachment A – Corporate Ethics & Compliance Department Charter and
              Responsibilities (“Proposed Charter”); Attachment B – Carnival Corporation & plc’s
              Ethics & Compliance Strategic Plan: “Compliance Alliance 2020 and Beyond”
              (“Proposed Strategic Plan”) (collectively, “Proposed Action Plan”). The CAM and
              TPA provided joint comments on the Proposed Action Plan on August 28, 2019. See
              Joint CAM/TPA Comments on August 14, 2019, Proposed Action Plan Submission
              (Aug. 28, 2019) (“Joint CAM/TPA Proposed Action Plan Comments”); see also
              infra, Part III.B (discussing the Company’s corporate compliance re-structuring
              efforts);




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             Final Action Plan for Corporate Compliance Re-Structuring (September 13,
              2019): By September 13, 2019, provide the Court with a final version of its action
              plan to restructure its existing corporate compliance function. The Company
              provided this final plan on September 13, 2019. See Revised EC Submission Cover
              Letter (for 8 14 Court Filing) (“September 2019 Final Submission Letter”);
              Attachment A – Corporate Ethics & Compliance Department Charter and
              Responsibilities (“September 2019 Final Charter”); Attachment B – Carnival
              Corporation & plc’s Ethics & Compliance Strategic Plan: “Compliance Alliance
              2020 and Beyond” (“September 2019 Final Strategic Plan”) (collectively, “September
              2019 Final Action Plan”).

                 o On October 9, 2019, the Company provided the Interested Parties, CAM,
                   and TPA with an updated version of the action plan to “reflect[] updates
                   to the restructuring process that have occurred since September 13.” See
                   Updated Compliance Restructuring Plan -- United States v. Princess Cruise
                   Lines, Ltd., No. 16-cr-20897 (S.D. Fla.) (Oct. 9, 2019); Revised EC
                   Submission Cover Letter_Oct 9 2019_FINAL (“October 2019 Final
                   Submission Letter”); Attachment A – Corporate Ethics & Compliance
                   Department Charter and Responsibilities (“October 2019 Final Charter”);
                   Attachment B – Carnival Corporation & plc’s Ethics & Compliance
                   Strategic Plan: “Compliance Alliance 2020 and Beyond” (“October 2019
                   Final Strategic Plan”); Attachment C - Important announcement: Carnival
                   Corporation forms new Ethics & Compliance team (“Compliance
                   Structure Announcement”); Attachment D - Carnival’s Commitment to
                   Ethics & Compliance: A Statement from Our Boards of Directors (“Boards’
                   Statement on Compliance”) (collectively, “October 2019 Final Action
                   Plan”).

                 o On November 1, 2019, the Company provided the Interested Parties,
                   CAM, and TPA with a supplement to the action plan to reflect “a
                   preliminary financial plan for its restructured Ethics & Compliance
                   Program.” See Supplement to Compliance Restructuring Plan -- United
                   States v. Princess Cruise Lines, Ltd., No. 16-cr-20897 (S.D. Fla.) (Nov. 1,
                   2019); Updated Draft for the Carnival Corporation Compliance Financial
                   Plan (2019 and 2020) (“Preliminary Financial Plan”); Attachment A –
                   Global Roster for Ethics & Compliance (“Preliminary Roster”);
                   Attachment B – Ethics & Compliance Functional Leaders (“Preliminary
                   Functional Leaders List”).




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                 o On December 10, 2019, the Company provided the Interested Parties,
                   CAM, and TPA with an additional supplement to reflect a final financial
                   plan for the Ethics and Compliance Program. See RE: Supplement to
                   Compliance Restructuring Plan -- United States v. Princess Cruise Lines,
                   Ltd., No. 16-cr-20897 (S.D. Fla.) (Dec. 10, 2019); Carnival Corporation
                   Compliance Financial Plan (2019 and 2020) (“Final Financial Plan”);
                   Financial Plan E&C December 10 – Attachment A, 2019 roster for Ethics
                   and Compliance (“Final Roster”); Financial Plan E&C December 10 –
                   Attachment B, Ethics & Compliance Functional Leaders (“Final
                   Functional Leaders List”); see also infra, Part III.B (discussing the
                   Company’s corporate compliance re-structuring efforts).

             Various Actions Related to Corporate Compliance Re-Structuring. By October
              9, 2019, complete a number of actions related to the re-structuring of the Company’s
              corporate compliance function, including:

                 o Promoting the Environmental Corporate Compliance Manager, which
                   occurred in May 2019;

                 o Appointing the Chief Ethics and Compliance Officer, which occurred in
                   August 2019;

                 o Creating the Chief Ethics and Compliance Officer charter and job
                   description, which were included in the September 2019 Final Action
                   Plan (and October update);

                 o Creating an Executive Compliance Committee, which was established in
                   the September 2019 Final Action Plan (and October update);

                 o Creating an annual training curriculum for the Carnival Corp. Boards of
                   Directors that includes corporate compliance topics, which was included
                   in the October 2019 Final Action Plan; and

                 o Issuing a written statement by the Boards of Directors that reiterates the
                   Company’s and the Boards’ commitment to compliance, which was
                   included in the October 2019 Final Action Plan and emailed to Company
                   personnel on October 9, 2019.

             Food Waste Technical Review. By October 31, 2019, review and analyze: (1) new
              food waste disposal technologies; (2) options for redesign of existing food waste
              disposal systems and associated processes; and (3) the optimization of food waste
              disposal systems and associated processes. The Company submitted its review and
              analysis of food waste technologies, systems, and processes on October 31, 2019.
              See U.S. v. Princess Cruise Lines Ltd. - Food Waste Equipment Technical Review
              (Oct. 31, 2019); Food Waste Equipment Technical Review (Oct. 31, 2019) (“Food




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               Waste Technical Review”); see also infra, Part III.D (discussing the Company’s
               food waste management efforts).

    See Dkt. No. 134 at 1-8; Dkt. No. 154-1 at 1-3.

           The Company appears to have met all of its filing and submission deadline obligations to

    date under the Probation Agreement. A chart summarizing the status of the Probation

    Agreement requirements is included as Appendix A to this Report. Additional details about the

    Company’s efforts to perform its obligations under the Probation Agreement are discussed in the

    relevant sections of Part III below.

                   2.      October 2, 2019, Status Conference

           Following the submission of the CAM September 2019 Quarterly Report, the Court held

    a quarterly Status Conference on October 2, 2019. Representatives from the Company, DOJ,

    CAM Team, and TPA were present. Among other items, the parties discussed the Company’s

    efforts to: respond to the Environmental Compliance Culture Assessment, see infra, Part III.A,

    which “focuses on the deficit; specifically of leadership behavior,” see Status Conf. Tr. at 8 (Oct.

    2, 2019); improve its internal investigations function; re-structure its corporate compliance

    function, including compliance risk assessment and training functions; and address its ongoing

    food waste management challenges. See generally id. As described further below, see infra,

    Part I.B.4, the parties also discussed the status of the jointly agreed-upon metrics and targets on

    environmental compliance that the Court ordered the Company and DOJ to develop at the July

    19, 2019, Status Conference. See Status Conf. Tr. at 60-61 (July 19, 2019); Dkt. No. 157 at 3.

           At the outset of the hearing, the Court spoke with the Carnival Corp. CEO and the

    Chairman of the Boards of Directors to reiterate the Court’s interest in “the affirmative steps that

    show that leadership is changing.” Id. at 8. The Court added that “[y]ou are extremely blessed –

    based on what the CAM has reported to me and the TPA – with having a work force that is



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    highly committed to doing an excellent and safe job in order to deliver on the product that makes

    the cash return for your shareholders.” Id. But “what I need to know is what the two of you are

    doing and taking personal ownership of.” Id. at 14. And “I need to know the concrete things

    that we can use to say we are making progress.” Id. at 16. Similarly, the Court expressed to the

    Chief Ethics and Compliance Officer that, “as you can imagine at this point I have heard

    wonderful talk for the past almost two and half years . . . Give me specifics as to how it is going

    to change so I know when these ships go out they have everything they need not just in the

    hospitality area so the customer has a wonderful experience.” Id. at 64-65. As discussed below,

    see infra, Part I.B.3, the Court issued an Order following the hearing that lists specific areas of

    interest for the Court.

                    3.        October 31, 2019, Order re: December 19, 2019, Status Conference

            Following the October 2, 2019, Status Conference, the Court issued an Order on October

    31, 2019, setting a meeting for December 19, 2019, at which the Company “may make a

    presentation to the Court regarding its compliance efforts.” Dkt. No. 167 at 1. Representatives

    from the DOJ, CAM Team, and TPA will also attend. See id. The Order states that the meeting

    is a response to the Company’s request for “an opportunity to address the Court regarding its

    compliance efforts beyond those that have been conveyed to the Court during the status

    conferences.” Id. The Order also “notes that it would be beneficial” for the Company’s

    presentation to address the following items:

            1. The Defendant’s leadership’s communications to ship-board and shoreside employees
               regarding environmental compliance as a core value of the Company.

            2. Actions the Company has taken in the past three months, and actions the Company
               plans to take at three month intervals, from the date of this Order to achieve:

                    a. A sufficient number of qualified deck, engine, and hotel crew members on its
                       ships who have the training, resources, time, and support to execute their job
                       responsibilities and meet compliance obligations;


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                  b. Financial and strategic planning processes designed to provide adequate
                     resources and attention toward environmental compliance, including processes
                     to allocate resources outside of the formal planning processes as needed to
                     support compliance efforts;

                  c. Processes designed to enable learning and continuous improvement through
                     the assessment of data (including incident and near miss reports), internal and
                     external findings (including audits, surveys, studies, and other assessments),
                     investigations findings, and corrective and preventive actions, including
                     processes for developing and implementing responsive action plans, and
                     sharing lessons-learned and best practices; and

                  d. Processes designed to implement management of change principles when new
                     actions are taken.[10]

           3. The Company shall describe the actions, including reference to those steps identified
              in section 2c above, to address the following compliance challenges, with reference to
              specific incidents noted in the Company’s Quarterly Tracking Chart filings,
              including:

                  a. Discharge of non-food items, including plastics, in food waste;

                  b. Discharge of other prohibited waste streams, including air emissions, ballast
                     water, black water (sewage), garbage, grey water, oil and oily wastes, and
                     recreational water; and

                  c. Inaccurate completion and maintenance of training records, Planned
                     Maintenance System records, and other logs and records required by law or
                     the ECP.

           4. Other efforts at environmental compliance the Company wishes to highlight that have
              not otherwise been described in the reports of the Court Appointed Monitor.

    Dkt. No. 167 at 1-2.




    10
      Under management of change principles, “[w]henever a change is made, the potential
    consequences of that change should be assessed before implementation.” American Bureau of
    Shipping, Guidance Notes on Management of Change for the Marine and Offshore Industries
    (Feb. 2013), at ii. A management of change system “is a combination of policies and procedures
    used to evaluate the potential impacts of a proposed change so that it does not result in
    unacceptable risks. Developing an effective [Management of Change] strategy requires
    establishing, documenting, and successfully implementing formal policies to evaluate and
    manage both temporary and permanent modifications in the facility or ship including equipment,
    materials, operating procedures and conditions, and personnel.” Id. at 1.


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           The Order directs the Company to submit an agenda and outline of topics for the meeting

    to the CAM, TPA, and Interested Parties by December 2, 2019. Id. at 2. The Company provided

    an agenda and outline on that date. See Agenda & Outline for December 19, 2019 Court

    Workshop (Dec. 2, 2019) (“Agenda”). Topics included:

                An overview of the purpose of the workshop, by the Carnival Corp. CEO;

                An overview of the Company, including corporate organization and evolution and
                 areas of progress and gaps, by the Carnival Corp. CEO;

                Leadership engagement in compliance as the top priority, by the Carnival Corp. CEO
                 and the Environmental Corporate Compliance Manager;

                Environmental compliance progress, by the Environmental Corporate Compliance
                 Manager;

                Environmental metrics and trend analysis, by the Chief Maritime Officer. See infra,
                 Part I.B.4 and Part III.F.2; and

                Ethics and Compliance Program progress, including enhancing the HESS
                 investigative function and addressing and strengthening corporate culture, by the
                 Chief Ethics and Compliance Officer and others.

    See Agenda at 1-2. The Order also directs the Company to meet with the CAM and TPA “to

    preview and take comments on the presentation that will be made to the Court on December 19,

    2019.” Dkt. No. 167 at 2-3. The Company held this meeting with the CAM Team and TPA on

    December 4, 2019, at the offices of the Company’s outside counsel in Washington, DC.

                    4.      Metrics on Environmental Compliance

           The Company and DOJ continue to work to develop the metrics and targets on

    environmental compliance ordered by the Court. See Status Conf. Tr. at 60-61 (July 19, 2019);

    Dkt. No. 157 at 3. Nearly five months have passed since the Court ordered the metrics to be

    developed:




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              On July 19, 2019, the Court directed DOJ and the Company to develop the metrics.
               See Status Conf. Tr. at 60-61 (July 19, 2019); Dkt. No. 157 at 3;

              On July 24, 2019, DOJ provided the Company with “proposed areas where it was
               believed that newly established or additional metrics would be helpful,” as well as
               “subject areas in which additional information was needed in order to establish a
               benchmark.” Dkt. No. 163 at 2; see also Re: Metrics (July 24, 2019) and attachment;

              On September 25, 2019, the Company responded with “proposed methods to provide
               metrics about some of these topics, and explained challenges in providing metrics
               about other topics.” Dkt. No. 164 at 2; see also Carnival Corporation’s Response to
               the Government’s Suggestions Regarding Environmental Performance Metrics (Sept.
               25, 2019);

              On October 1, 2019, in its Status Report filed prior to the October 2, 2019, hearing,
               DOJ noted that “some of [the Company’s] responses are incomplete or unacceptable.”
               Dkt. No. 163 at 2;

              On October 1, 2019, in its response to DOJ’s Status Report, the Company stated that
               “conferral with the Government will be the most useful way of making progress on
               metrics. The goal will be for the Company to propose a method for providing metrics
               to the Interested Parties, CAM, and TPA on or before November 1, 2019,” with a
               final report on metrics provided to the Court “shortly thereafter.” Dkt. No. 164 at 2;

              At the October 2, 2019, Status Conference, DOJ noted that, as of that date, “we don’t
               have a proposal; we have a discussion.” Status Conf. Tr. at 11 (Oct. 2, 2019). The
               Court instructed the parties “to come up with what is realistic and practical so that all
               of us can measure and ultimately reduce the number of incidents that are reported.”
               Id. at 32; and

              On November 2, 2019, the Company submitted a draft proposal to DOJ. See RE:
               Carnival metrics (Nov. 2, 2019) and attachments.

           In developing the November 2, 2019, draft proposal, the Company engaged with the

    CAM Team, including soliciting feedback on prior drafts. During this process, the CAM

    emphasized to the Company “that the value proposition of metrics is that the time and effort

    expended in this area is worthwhile to the extent doing so provides support for the Company’s

    compliance efforts – and importantly, support for efforts that will continue beyond the end of the

    period of probation.” Email from S. Solow to B. Burke, Fw: DoJ Metrics (Oct. 31, 2019). The

    CAM also acknowledged the Company’s observation that, at least currently, it “does not have



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    the processes to automate the collection of certain data” (e.g., pollution prevention equipment

    malfunctions), and expressed hope “that these goals and data collection challenges will be a

    subject of conversation with the government, and will prompt internal discussions as to whether

    there are ways to enhance the collection of data that would be optimal for enhancing compliance

    management and risk management.” Id.

              The CAM has also urged the Company not to view the development of metrics as an

    exercise to appease the Court, DOJ, or CAM, nor commit to metrics it does not find useful. The

    metrics agreed upon should be ones that bring value and insight to the Company, “ones that

    generate information that can be pushed up through and across management, and provide

    managers with information that can inform actions to enhance the Company’s ability to manage

    risk and support compliance.” Id.

    II.       CAM METHODOLOGY AND ACTIVITIES

              A.      CAM Team Activities During the Second Quarter of ECP Year Three

              Consistent with the Third Annual Work Plan, see CAM September 2019 Quarterly

    Report at 10-11 and Attachment 1, and the Probation Agreement, the CAM Team performed the

    following ship and shoreside office visits during the second quarter of ECP Year Three (July 19,

    2019 – October 18, 2019):

                  Four ship visits:

                      o Three CAM Team-only visits;11 and

                      o One RAAS ride along visit.12




    11
      These visits were to a Carnival Cruise Line ship from September 12-16, 2019; a Carnival UK
    ship from September 13-17, 2019; and a Costa Group ship from October 8-13, 2019.
    12
         This visit was to a Carnival Cruise Line ship from August 24-31, 2019.


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              Three shoreside office visits:

                  o One CAM Team-only visit to All Brands Group offices in Miami, Florida,
                    from July 23-26, 2019;

                  o One CAM Team-only visit to Holland America Group offices in Seattle,
                    Washington, from August 19-21, 2019; and

                  o One CAM Team-only visit to Carnival UK offices in Southampton, United
                    Kingdom, from September 18-20, 2019.13

           In addition, the CAM Team attended various Company meetings and events during the

    second quarter of ECP Year Three and up until the date of this Report (from July 19, 2019 –

    December 18, 2019), including:

              Multiple presentations by Propel, the CAM’s retained maritime culture survey expert,
               on the results of the Environmental Compliance Culture Assessment. The first
               presentation was held in person with the Company’s Executive Leadership Team in
               New York City, New York, on September 3, 2019. A second presentation was held
               via WebEx with approximately fifty senior-level shoreside employees from the All
               Brands Group, operating lines, and brands on September 5, 2019. Additional
               presentations at operating line offices were held on: (1) November 21, 2019, for
               Carnival Cruise Line personnel in Orlando, Florida; (2) December 3, 2019, for
               Carnival UK personnel in Southampton, United Kingdom; (3) December 9, 2019, for
               Holland America Group personnel in Seattle, Washington; and (4) December 12,
               2019, for Costa Group personnel in Hamburg, Germany. See infra, Part III.A.1, 3;

              A meeting with the Company and the TPA to preview the presentation that the
               Company will make to the Court on December 19, 2019, held at the offices of the
               Company’s outside counsel in Washington, DC, on December 4, 2019. See supra,
               Part I.B.3;

              An overview of the new causal analysis investigation training provided by the
               Company’s outside consultant, held at the Company’s offices in Miami, Florida, on
               November 15, 2019. See infra, Part III.C.2.iv(1);

              Two sessions of an Environmental Excellence hybrid training/conference event with
               third-year Environmental Officers and shoreside training, compliance, and operations


    13
      Between the end of the second quarter of ECP Year Three and the date of this Report, the
    CAM Team also performed the following CAM Team-only shoreside office visits: (1) All
    Brands Group and Carnival Cruise Line offices in Miami, Florida, from October 22-24, 2019;
    and (2) Costa Group offices in Hamburg, Germany, from November 10-12, 2019.


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               personnel, held at the Company’s CSMART training facility in Almere, Netherlands,
               from August 12-16, 2019, and from November 11-15, 2019. See infra, Part III.E.3;

              A meeting with the Special Compliance Committee of the Carnival Corp. Boards of
               Directors, held on a Princess ship in the Gulf of Trieste, Italy, on October 14, 2019.
               See infra, Part III.B.2;

              The Company’s Semi-Annual Global Maritime IT Leadership Forum, held in
               Hamburg, Germany, from October 7-11, 2019. See infra, Part III.G.1;

              A Data Management Working Group session of the Company’s Corporate Technical
               Days event, held in Southampton, United Kingdom, on September 23, 2019. See
               infra, Part III.G.1;

              A session of the Company’s redesigned Operational Excellence training course
               required for all deck, technical, and environmental officers attending CSMART, held
               at the Company’s CSMART training facility in Almere, Netherlands, on August 17,
               2019. See infra, Part III.E.4;

              An annual RAAS auditor workshop, called the RAAS Maritime Retreat, held at the
               Company’s CSMART training facility in Almere, Netherlands, from August 12-16,
               2019. See infra, Part II.C; and

              A meeting with members of the Environmental Corporate Compliance Manager’s
               food waste Tiger Teams, held at the TPA’s offices in Houston, Texas, on August 7,
               2019. See infra, Part II.B and Part III.D.1-2.

           Outside of visits to ships, shoreside offices, and other sites, the CAM Team has continued

    to communicate frequently with the Environmental Corporate Compliance Manager and his

    team. The CAM Team also communicates with other personnel, including the Chief Ethics and

    Compliance Officer, the Chief Maritime Officer, the Chief Audit Officer, the Chief Financial

    Officer, the Vice President of the Incident Analysis Group, the Special Compliance Committee

    of the Carnival Corp. Boards of Directors, and the Special Compliance Committee’s independent

    outside counsel; and with Propel and the Company on the response to the Environmental

    Compliance Culture Assessment. The CAM Team performs an ongoing review of documents

    produced by the Company, and conducts additional formal and informal interviews and

    communications with personnel from all ranks across the Company, including receiving



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    confidential communications. The CAM Team also remains in regular communication with the

    TPA and the Interested Parties, and reports to the Interested Parties and the Court as required by

    the ECP and the Court.

              B.      Oversight of the External Audit Function (TPA)

              During the second quarter of ECP Year Three (July 19, 2019 – October 18, 2019), the

    TPA conducted eleven ship audits, two shoreside office audits,14 and one audit of the

    Environmental Excellence training course for third-year Environmental Officers held at the

    Company’s CSMART facility in Almere, Netherlands.15 In addition, as discussed in the most

    recent CAM report, on August 7, 2019, the TPA hosted a presentation by the Company to the

    TPA and the CAM Team on developments related to the updated Environmental Control System

    methodology and ongoing food waste management initiatives. See CAM September 2019

    Quarterly Report at 13-14. Following the Company’s presentation, the TPA hosted a meeting

    with the CAM Team to discuss, among other items, goals and areas of focus for ECP Year

    Three. See id.

                   The CAM Team continues to communicate regularly with the TPA (including phone

    conferences and in-person meetings), review TPA reports, and evaluate the adequacy and

    independence of the TPA through both observations during ride-along ship and shoreside visits

    and interviews with Company employees who have interacted with TPA auditors. The CAM

    will provide an assessment of the TPA’s activities during ECP Year Three in the next annual

    report.



    14
      These TPA shoreside office audits were of Carnival UK offices in Southampton, United
    Kingdom, from August 19-22, 2019, and Carnival Cruise Line offices in Miami, Florida, from
    September 30 – October 4, 2019.
    15
         This TPA audit was of the session held from August 12-16, 2019. See infra, Part III.E.3.


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           C.      Oversight of the Internal Audit Function (RAAS)

           During the second quarter of ECP Year Three (July 19, 2019 – October 18, 2019), RAAS

    conducted twenty-three audits of Covered Vessels (including one with the CAM Team in

    attendance, as noted above) and no audits of shoreside offices. In addition, as discussed in the

    most recent CAM report, from August 12-16, 2019, the Company held a RAAS Maritime

    Retreat at its CSMART training facility in Almere, Netherlands. The CAM Team and TPA

    attended. See id. at 14-15.

           As discussed in the Third Annual Work Plan, the CAM Team intends to build upon its

    observations of RAAS during ECP Years One and Two to further explore the role of RAAS in

    supporting a sustainable compliance culture during ECP Year Three. To do so, among other

    activities, the CAM Team expects to review and assess: (1) training, support, and resources

    provided to RAAS auditors; (2) training, support, and resources provided to ship and shoreside

    employees to address and track RAAS findings; and (3) the role of top leadership, including the

    Boards of Directors, in supporting and promoting the RAAS function. See Third Annual Work

    Plan at 12. The CAM Team also intends to monitor RAAS’s efforts to develop and implement

    an action plan for addressing the areas for improvement identified at the RAAS Maritime

    Retreat, see CAM September 2019 Quarterly Report at 15, as well as efforts at coordination and

    collaboration between RAAS and the new Ethics and Compliance Department and Program,

    including in the functional areas of environmental compliance, training, risk assessment,

    communications, and incident analysis. The CAM will provide an assessment of its oversight of

    the RAAS function in the next annual report.




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    III.    UPDATES ON ECP YEAR THREE AREAS OF FOCUS AND COMPANY CAPABILITIES TO
            MEET ECP OBJECTIVES

           A.      Culture Survey and Assessment

                   1.      Background

           The Company’s compliance culture has been a consistent area of focus, with the Court

    emphasizing its interest in evaluating the Company’s progress and growth in this area. See, e.g.,

    CAM First Annual Report at 24; CAM Second Annual Report at 53. At the most recent status

    conference, the Court stated: “I also want to address the culture survey which focuses on the

    deficit; specifically of leadership behavior.” Status Conf. Tr. at 8 (Oct. 2, 2019).

           As discussed in prior CAM reports, the CAM, in consultation with the Company, retained

    Propel, a Norwegian consulting company that specializes in culture assessment in the maritime

    and energy industries, to conduct an Environmental Compliance Culture Survey and to prepare

    an Environmental Compliance Culture Assessment to illuminate both the strengths and

    opportunities for improvement in the Company’s environmental compliance culture. See CAM

    First Annual Report at 24-25, 68; CAM Second Annual Report at 53-54; CAM September 2019

    Quarterly Report at 15-30.

            On August 28, 2019, Propel provided the Company and the CAM with the final report of

    its Environmental Compliance Culture Assessment. See Propel, Environmental Compliance

    Culture Assessment of Carnival Corporation 2018/2019 (Aug. 28, 2019) (“Environmental

    Compliance Culture Assessment Report”). The report indicates that “employees across all of

    Carnival, from its All Brands Group (‘ABG’) to the various brands, have identified the Company




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    as having a compliance culture with a low level of maturity and significant potential for

    improvement.” Id. at 3.16 In particular:

           Carnival’s employees have described a culture where people who are involved in failures
           are blamed, and where management does not take required steps to learn from failures.
           They also describe Carnival’s culture as one where interpersonal dynamics are ignored,
           where management is narrowly focused on professional competence, and where
           management is insensitive as to how culture, attitudes and interpersonal dynamics
           influence operational performance. In short, the employees have identified a culture that
           is neither open to feedback nor one that sees failure as a vital source of learning.

    Environmental Compliance Culture Assessment Report at 3-4. The Company’s greatest

    opportunities for improvement, as evidenced by low scores, are in the Leadership Behavior areas

    of Trust, Care, and Openness. See id. at 19-21. The low Trust score, notably, indicates a “lack

    of confidence between employees, supervisors and managers.” Id. at 19.

           The Environmental Compliance Culture Assessment Report advises that “[s]ignificant

    leadership efforts will be required to create a mature and sustainable compliance culture.” Id. at

    3. Accordingly, the report identifies “a list of key success factors” that are important for

    implementing a meaningful culture change program. Id. at 42. These include:

              “Top Management takes ownership for compliance failures;”

              “Top Management accepts that changes are needed;”




    16
       The Company as a whole had an Organizational Culture Maturity score at the 27th percentile
    (meaning it scored higher than approximately 27% of other companies in the comparison
    database; or, conversely, that approximately 73% of other companies scored higher). That score
    places the Company in the “Apathetic” category, the second lowest of the five-level scale used in
    Propel’s methodology. See CAM September 2019 Quarterly Report at 22-24 (providing
    overview of Propel’s methodology). When the brands/operating lines were assessed
    individually, the Organizational Culture Maturity scores varied, but all of the brands/operating
    lines fell into either the “Apathetic” (second-lowest) or “Defeatist” (lowest) categories. See id. at
    24.


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              “Management dedicates necessary time and resources to implement cultural
               changes;”

              “Top Management takes ownership of strengthening compliance culture;”

              “Culture changes are linked to the company strategy;” and

              “Systems and governance are aligned to support the change.”

    Id. During presentations made by Propel to the Company’s Executive Leadership Team and

    senior shoreside management on September 3 and 5, 2019, Propel reiterated these “key success

    factors” and highlighted that the involvement of “Top Management”17 is critical to a successful

    culture change program, and that a change in culture cannot be effected without the active and

    sustained engagement of leadership.

           At the October 2, 2019, Status Conference, the Carnival Corp. CEO referenced the

    Environmental Compliance Culture Assessment Report and stated: “[W]e have to make certain

    that the culture we want is established. Having said that, Your Honor, I think that the Propel

    Study highlighted, again, some of those things we know we have to do better on.” Status Conf.

    Tr. at 19 (Oct. 2, 2019).

                   2.      Company Retention of Outside Consultant

           The Company has retained an outside consultant, the Ethics & Compliance Initiative

    (“ECI”), to “develop an action plan addressing the areas of improvement discussed in [Propel’s]

    culture survey report.” October 2019 Probation Supervision Report, Attachment 3, at 1. ECI

    indicated that it would “assist the company in further reviewing, analyzing and interpreting the

    results” and “lead action planning sessions with the [Company] leadership to discuss the results,

    define short- and long-term priorities and next steps.” Letter from ECI to Propel (Sept. 16,


    17
      Propel defines “Top Management” as the “Board of Directors and the executive management
    teams of [All Brands Group], Groups and [Operating Lines].” Id. at 2.


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    2019), at 1. To the best of the CAM’s knowledge, the Company has not yet finalized this action

    plan.

             In connection with its work, ECI made several requests for additional information from

    Propel. See id. at 1-2. On October 18, 2019, the CAM Team transmitted to ECI, via the

    Company, the following additional information from Propel in response to ECI’s requests:

                A document describing the structure, validity, and reliability of the survey instrument,
                 as well as the survey items and the Leadership Behaviors to which each item related;

                The scores for each brand, shoreside group, and ship;

                A cruise industry benchmark showing the average scores by Leadership Behavior
                 available for non-Carnival Corp. cruise companies in the Propel database;

                An analysis comparing the current AIDA and Costa results to the results of a previous
                 assessment conducted by Propel of AIDA and Costa in 2014; and

                The text of the over twenty-one thousand free text comments made by survey
                 participants. These comments were translated into English and anonymized.

    See Supplemental Information Prepared by Propel in Response to ECI's Requests (Oct. 18,

    2019).

             On October 28, 2019, ECI made an additional request for raw scores for each survey

    item. See Email from ECI to Propel (Oct. 28, 2019). Propel expressed concern to ECI that the

    request for raw scores for individual survey items could distract the Company from

    understanding “the underlying cultural dimension” of the survey results. See Email from Propel

    to ECI (Oct. 30, 2019). ECI reiterated its request for the raw scores for individual survey items.

    See Email from ECI to Propel (Nov. 1, 2019). Propel provided raw data scores for the individual

    brands on November 15, 2019. See Email from Propel to ECI (Nov. 15, 2019).

                    3.      Operating Line Presentations

             Following the presentation to the Executive Leadership Team on the results of the

    Environmental Compliance Culture Assessment on September 3, 2019, the Company requested


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    that Propel give additional presentations to each of the operating lines. The operating line

    presentations were held on: November 21, 2019 (Carnival Cruise Line); December 3, 2019

    (Carnival UK); December 9, 2019 (Holland America Group); and December 12, 2019 (Costa

    Group).

                   4.      Ongoing CAM Team Examination

           The Company has stated that “[a]lthough the efforts to improve the culture of a company

    with more than 120,000 employees will inevitably extend beyond the term of the ECP, [the

    Company] hopes appreciably to improve its culture by the time Propel conducts the second stage

    of its survey at the end of the ECP.” Status Report by Princess Cruise Lines, Ltd. to be

    Considered during Status Conference on October 2, 2019, Dkt. No.162 (Sept. 25, 2019), at 2.

    To date, the Company has yet to finalize its action plan or announce concrete steps it will take to

    address the findings of the Environmental Compliance Culture Assessment. The CAM will

    report on the Company’s response to the assessment findings, including the extent to which top

    leadership utilizes the “key success factors” referenced above.

           B.      Corporate Compliance Structure

                   1.      Background

           The Company continues its efforts to restructure its corporate compliance function. As

    discussed in prior CAM reports, the Company pleaded guilty on June 3, 2019, to a violation of

    probation for “failing to provide sufficient responsibility and authority to the [Environmental

    Corporate Compliance Manager] to implement the ECP,” Dkt. No. 134 at 10, and

    “acknowledge[d] that it failed to establish [an Environmental Corporate Compliance Manager]

    with authority (including resources, budget, and staff) as required to implement the ECP.” Id. at

    2. This issue was brought to the Company’s attention at least as early as the end of ECP Year

    One, when the CAM made a finding that the Company had failed to provide the Environmental


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    Corporate Compliance Manager with ECP-required authority. See CAM First Annual Report at

    4-5, 28. The CAM also found that the Company’s complex corporate structure, including the

    lack of centralization and lack of clarity as to responsibility, accountability, and authority for

    environmental compliance, was an unresolved barrier to environmental compliance. See id. at 4-

    5, 25-30. The CAM continued to report on the Company’s failure to remedy these findings

    throughout ECP Year Two. See CAM Second Annual Report at 46-49, 91-92. However, the

    Company took only limited actions in response, until it faced the probation revocation petition

    filed by the Office of Probation near the end of ECP Year Two. See Dkt. Nos. 93, 110, 134, 143.

           As part of the Probation Agreement, the Company committed “to restructure its existing

    corporate compliance governing authority.” Dkt. No. 134 at 10. The Probation Agreement

    requires the Company to undertake a number of actions, including appointing a Chief Ethics and

    Compliance Officer, promoting the Environmental Corporate Compliance Manager, and

    providing them “each with: the appropriate budget and staff; a substantive role in financial,

    strategic, and sustainability planning processes; and compliance authority over regulatory

    obligations and operations across and within all brands.” Id. at 2 (emphasis added); see also

    CAM September 2019 Quarterly Report at 31-33.

           Consistent with its obligations under the Probation Agreement, the Company submitted

    to the Court, CAM, TPA, and Interested Parties its proposed action plan for re-structuring its

    corporate compliance function on August 14, 2019. See Proposed Action Plan. After receiving

    joint comments from the CAM and TPA, the Company submitted to the Court its final action

    plan on September 13, 2019. See September 2019 Final Action Plan. The September 2019 Final

    Action Plan incorporated changes in response to concerns expressed by the CAM and TPA on

    the Proposed Action Plan, including concerns relating to: (1) the role and authority of the



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    Environmental Corporate Compliance Manager and Chief Ethics and Compliance Officer; and

    (2) budgetary resources for compliance. See Joint CAM/TPA Proposed Action Plan Comments

    at 1. Many of these changes consisted of additions to descriptions of the Environmental

    Corporate Compliance Manager and Chief Ethics and Compliance Officer positions, stating in a

    conclusory manner, for instance, that these individuals have a “substantive role”18 in financial

    and strategic planning processes and “authority and [substantial] control”19 over the operating

    lines. See CAM September 2019 Quarterly Report at 39-41. For the most part, these changes

    mirror language from the Probation Agreement and Joint CAM/TPA Proposed Action Plan

    Comments. What remains unclear is how these concepts and terms such as “substantive role”

    will be implemented in practice. The CAM Team will continue to focus on understanding

    whether there are concrete and observable ways in which the Environmental Corporate

    Compliance Officer and Chief Ethics and Compliance Officer will exercise authority in support

    of compliance efforts.

                   2.        Updated Final Action Plan and Boards’ Statement on Compliance

            On October 9, 2019, the Company submitted to the Court, CAM, TPA, and Interested

    Parties an update to its September 13, 2019, action plan for re-structuring its corporate

    compliance function, to reflect changes since the September submission. See October 2019 Final



    18
      For example, the Chief Ethics and Compliance Officer will “participat[e] in the financial
    planning processes, and play[] a substantive role in the full plan cycle[.]” September 2019 Final
    Submission Letter at 8. The Environmental Corporate Compliance Manager will “participate in
    and perform [a] substantive role in financial, strategic, and sustainability planning processes.”
    September 2019 Final Strategic Plan at 29.
    19
      For example, the Chief Ethics and Compliance Officer will “[a]ssume compliance authority
    and substantial control to oversee and implement the Company’s overall ethics and compliance
    functions – including the ability to direct change and actions across and within all brands (if, and
    when, necessary ) . . . The Environmental [Corporate Compliance Manager] will maintain
    authority and control over [Operating Line Compliance Managers].” Id. at 27.


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    Action Plan. As with the prior submissions, it consists of three primary documents: a

    submission letter, a charter, and a strategic plan. Among other changes, the October submission

    includes the following updates:

              Independent Legal Representation for the Special Compliance Committee of the
               Boards of Directors. A newly convened Special Compliance Committee of the
               Carnival Corp. Boards of Directors has retained a private law firm to provide it with
               separate legal representation. See October 2019 Final Submission Letter at 3. The
               Special Compliance Committee is compromised entirely of independent directors.
               See Boards’ Statement on Compliance at 2. It “will be the Board Committee
               primarily responsible for overseeing the [Ethics and Compliance] Program, and the
               [Chief Ethics and Compliance Officer] will report to this Committee, as well as the
               Audit Committee and HESS Committee (as requested or as the Chief Ethics and
               Compliance Officer deems necessary).” October 2019 Final Charter at 4 (footnote
               omitted); and

              Annual Training Curriculum for the Boards of Directors. The Special
               Compliance Committee has reviewed and approved an annual training program for
               the Boards of Directors “to help educate the Boards as to the importance of topics in
               [the area of ethics and compliance], and the Boards’ oversight role.” October 2019
               Final Submission Letter at 3-4. The initial curriculum will consist of four sessions to
               be held from October 2019 through July 2020, covering: (1) culture, core values, and
               response plan; (2) review of the new Ethics and Compliance Department and the new
               DOJ guidance; (3) the role of Board oversight and fiduciary duties in the
               environmental and safety context; and (4) tools for measuring compliance program
               effectiveness. Id.20

           The October 2019 Final Action Plan includes two additional attachments: (1) an email

    sent to Company personnel announcing the Ethics and Compliance team, including brief job

    descriptions and individual bios for the Deputy Chief Ethics and Compliance Officer;

    Environmental Corporate Compliance Manager; Health/Safety/Security Corporate Compliance

    Manager; General Corporate Compliance Manager; Incident Analysis Group Investigations

    Leader (i.e., the Vice President of the Incident Analysis Group); Compliance Risk Management


    20
      The October 2019 Final Charter also clarifies that the Environmental Corporate Compliance
    Manager is a member of the newly established Executive Compliance Committee. The
    September 2019 Final Action Plan did not list this position as a member of the Committee, as
    required by the Probation Agreement. See CAM September 2019 Quarterly Report at 38.


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    Leader; and Compliance Training Leader, see Compliance Structure Announcement; and (2) an

    email sent to Company personnel with the statement, required under the Probation Agreement,

    from the Carnival Corp. Boards of Directors reiterating the Company’s and the Boards’

    commitment to compliance. See Boards’ Statement on Compliance.

           The Boards’ Statement on Compliance states that “[p]rotecting the environment and

    ensuring the health and safety of our customers and employees are core values of our Company.”

    Id. This message is long overdue: at the end of ECP Year Two, the CAM found that “[t]he

    Company does not express protection of the environment as a core value, or one that takes

    precedence over revenue generation, in its communications of corporate values.” CAM Second

    Annual Report at 65. Observable behavior by top leadership consistent with this statement is

    necessary if the message is to resonate with employees across the Company to the same degree

    as the long-standing messages on the value to leadership of delivering a great guest experience

    and breakthrough shareholder returns. See id.

                   3.     Financial Plan Supplements

           On December 10, 2019, the Company provided the Interested Parties, CAM, and TPA

    with a supplement to the October 2019 Final Action Plan to reflect “the final version of the

    Company’s financial plan for the broader ethics and compliance program” for fiscal years 2019

    (historical) and 2020 (proposed). Final Financial Plan at 1.21 The Company had provided a

    preliminary version of the financial plan on November 1, 2019. See Preliminary Financial Plan.



    21
      The Probation Agreement requires the Company’s action plan to include “a preliminary annual
    compliance budget for the various compliance responsibilities,” as well as “a summary and
    description of the changes in budget/resources —(actual for 2019; and proposed for 2020).” Dkt.
    No. 134 at 3. The Company notes that it “uses the term ‘plan’ versus ‘budget’ due to the
    operationally-driven process it follows, which allows it to make the necessary adjustments based
    upon a variety of circumstances that can arise throughout the year.” Final Financial Plan at 1.


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    As the CAM has noted, the Company’s action plan submissions in September and October 2019

    were “not . . . able to provide a detailed forecast for the overall [Ethics and Compliance] Program

    for 2020” because the “annual plan process [was] still underway for 2020” at the time of those

    submissions. See CAM September 2019 Quarterly Report at 41; October 2019 Final Submission

    Letter at 7.

            The Final Financial Plan includes a “final revised summary of ‘compliance’ spend for

    both 2019 and 2020” for All Brands Group and each of the Company’s four operating lines,

    arranged by three substantive categories: (1) Health, Safety, and Security; (2) Environmental;

    and (3) General Corporate Compliance. See Final Financial Plan at 1-2. Overall, it estimates an

    increase in total compliance spend of approximately $18.8 million from 2019 to 2020

    (approximately $2.4 million of which is Environmental),22 along with the addition of forty full

    time equivalent (“FTE”) compliance staff across the Company from 2019 to 2020 (thirteen of

    whom are Environmental).23 Final Financial Plan at 2.24

            The Final Financial Plan also sets forth a list of outside consultant projects for the fourth

    quarter of 2019 and into 2020, including:




    22
      This figure was approximately $21.6 million (approximately $1.2 million of which was
    Environmental) in the Preliminary Financial Plan. See Preliminary Financial Plan at 2.
    23
      This figure was 65 FTEs (eighteen of whom were Environmental) in the Preliminary Financial
    Plan. See id.
    24
       The plan notes that “the financial resources and FTEs associated with the [Health, Safety, and
    Security] functions at [All Brands Group] are much less than those allocated for both the
    Environmental and General Compliance functions. These differences are due to the higher levels
    of resources and the overall maturity of the health, safety and security functions that are currently
    in place within the Operating Companies.” Id.


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              Change management;25

              A new IT compliance data science project;

              Enhancements to IT systems to improve compliance;

              Compliance risk assessments;

              An environmental recordkeeping review;

              A Reliability, Availability, and Maintainability study of all shipboard pollution
               prevention equipment; and

              Revised and enhanced environmental and general training.

    Final Financial Plan at 5-6. An identical list of projects was provided in the Preliminary

    Financial Plan.

           The CAM Team is reviewing the Final Financial Plan. The CAM Team also intends to

    seek further information on the source of the funding and resources for the Ethics and

    Compliance Department and Program at the All Brands Group and brand/operating line levels—

    for instance, is the ethics and compliance function being funded by offsets or resource-shifting




    25
       It is unclear what “change management” refers to. Similar terminology can describe related,
    but distinct, concepts. For instance, “change management” typically refers to changes at an
    organizational or behavioral level, and can be defined as “the practice of applying a structured
    approach to transition an organization from a current state to a future state to achieve expected
    benefits.” See What is Change Management?,
    https://www.acmpglobal.org/page/change_management. “Management of change,” on the other
    hand, typically refers to the technical side of change and “is a structured process that is used to
    review all proposed changes to equipment, raw materials, processes, and procedures before the
    changes are implemented to evaluate the impact and risks associated with the change.” See
    Management of change vs. change management,
    https://www.plantservices.com/articles/2012/10-management-of-change-vs-change-
    management/. It is this latter concept—management of change—in which the Court has
    expressed an interest. As noted above, the Court requested more information on the Company’s
    “[p]rocesses designed to implement management of change principles when new actions are
    taken” in the Order of October 31, 2019. See Dkt. No. 167 at 2.


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    from other areas? If so, were any associated risks and impacts evaluated using management of

    change principles?

                   4.      Ethics and Compliance Personnel

           The December 10, 2019, Final Financial Plan supplement includes two attachments:

    (1) a roster of Ethics and Compliance Program personnel for 2019 and 2020, including for All

    Brands Group and each of the Company’s four operating lines, see Final Roster; and (2) a list of

    Ethics and Compliance Program functional leaders for All Brands Group and each of the

    operating lines, including Operating Company Chief Ethics and Compliance Officers, Deputy

    Chief Ethics and Compliance Officers, Operating Line Compliance Managers, Operating Line

    Training Managers, Compliance Risk Leaders, Compliance Communications Leaders, and

    Incident Analysis Leaders. See Final Functional Leaders List. The Company previously

    provided preliminary versions of these documents on November 1, 2019. See Preliminary

    Roster; Preliminary Functional Leaders List. Overall, these documents reflect that the staffing of

    the Ethics and Compliance Program positions is an ongoing effort, with many key positions “to

    be determined.”

           The Chief Ethics and Compliance Officer has stated that many decisions about

    structuring the compliance function at the operating line level are being left up to the individual

    companies. See Employee Interview Notes. This is likely to include, for instance, the

    relationships and reporting lines between the Operating Company Chief Ethics and Compliance

    Officers, Operating Line Compliance Managers, and other functional leaders and compliance

    managers. See id.; see also Final Functional Leaders List at 1 (indicating, for example, that only

    two out of the four operating lines will have a Deputy Chief Ethics and Compliance Officer

    position, and that the Health/Safety/Security Compliance Leader position will be filled by




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    “various” unspecified individuals at each of the operating lines). As a result, different structures

    may emerge at each of the operating lines. The CAM takes no position on this approach, but is

    interested to see how it will address Company-wide compliance support needs (such as the

    implementation of corporate-wide IT initiatives under the global strategy of the Company’s new

    Chief Information Officer. See infra, Part III.G.1). The CAM Team will continue to seek to

    understand the structure and implementation of the ethics and compliance function at both All

    Brands Group and the operating lines.

                   5.       Ongoing CAM Team Examination

           As discussed in prior CAM reports, a tremendous amount of effort has gone into

    developing the Ethics and Compliance Department and Program. See CAM September 2019

    Quarterly Report at 41-43. New compliance structures and systems alone cannot succeed in

    addressing the Company’s current compliance challenges and building a sustainable compliance

    culture. A primary function of a compliance program is to address systemic and cultural issues

    that drive a company’s compliance challenges. It remains crucial that the Company’s top

    leadership (i.e., the CEO and Boards of Directors) take personal responsibility for and lead the

    promotion of a culture of compliance. Id. For the compliance structures and systems to be

    effective, top leadership’s acceptance of responsibility and commitment to change must be

    authentic. Messaging alone is not enough; words must be backed up by concrete actions by top

    leadership that make behaviors that support compliance as valued as behaviors that support other

    business imperatives.

           The CAM Team will continue to monitor the implementation of the October 2019 Final

    Action Plan and overall restructuring of the compliance function, including the projects and

    initiatives listed in the Final Financial Plan and October 2019 Final Action Plan, as well as the




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    Company’s ongoing efforts to hire a new member of the Boards of Directors with corporate

    compliance experience. The CAM Team will focus on the issues highlighted in the Court’s

    Order of October 31, 2019: leadership communications regarding environmental compliance as

    a core value; actions to ensure a sufficient number of qualified deck, engine, and hotel crew

    members on Company ships; the integration of environmental compliance into financial and

    strategic planning processes; the adoption and implementation of processes designed to enable

    learning and continuous improvement through the assessment of data and findings; and the

    adoption and implementation of processes designed to implement management of change

    principles when new actions are taken. See Dkt. No. 167 at 1-2.

           Consistent with the Court’s direction, see Dkt. No. 157 at 1, the CAM Team will also

    continue to track the Company’s efforts to create benchmarks and use empirical measures to

    assess its stated aim of establishing a “world class compliance and ethics program.” See Third

    Annual Work Plan at 12; Status Conf. Tr. at 33 (July 19, 2019).

           Further, the CAM Team will examine whether top leadership accepts the findings of the

    Environmental Compliance Culture Assessment, and what steps they take to address their role in

    fostering a culture that is marred by a “lack of confidence between employees, supervisors and

    managers.” Environmental Compliance Culture Assessment Report at 19.

           C.      Investigations

                   1.     Background

           During the first year of the ECP, one of the CAM’s most significant findings identified

    that the “Company’s internal investigations are critically flawed.” See CAM First Annual Report

    at 5, 33-40. Specifically, the CAM observed that: (1) investigations repeatedly failed to identify

    root cause(s), and the Company lacked a procedure or standard methodology for performing root




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    cause analysis;26 (2) investigation reports often sought to attribute blame to specific shipboard

    personnel, rather than evaluate the role of broader, systemic issues that may have contributed to

    the incident; (3) the investigation program was still largely decentralized, despite being housed in

    the RAAS function; (4) relevant policies and procedures provided little guidance on how to

    conduct investigations, including with respect to preservation of evidence; (5) there was

    inconsistent information sharing regarding brand/operating line investigation findings between

    brand/operating line investigators and RAAS; (6) there were delays in the conduct of

    investigations led by brands/operating lines; and (7) the Company failed to follow existing

    procedures or guidance as part of its internal investigations, or to provide adequate guidance and

    direction to external investigators in third-party led investigations. See CAM First Annual

    Report at 33-40.

           In September 2018, the Company committed to the Court that it would improve its

    investigations program through a number of proposed actions and associated timetables. See

    Investigations Timeline – U.S. v. Princess Cruise Lines, Ltd. 1:16-cr-20897 (S.D. Fla.) (Sept. 21,

    2018) (“Proposed Investigations Timeline”). The actions in the Company’s Proposed

    Investigations Timeline were based on recommendations from an outside consultant, DNV GL

    AS Maritime (“DNV GL”), that the Company engaged to assess its internal investigations

    process and make recommendations for improving and standardizing the program. See DNV

    GL, Towards improving Carnival’s incident investigation process, Report No. 2018-0209, Rev.



    26
      The TPA made a similar finding in ECP Year One that the Company’s investigations
    procedures “are inconsistent, non-conclusive and ineffective. There is no formal ‘Root Cause
    Analysis’ process for investigation[s].” TPA First Annual Report at 3, 5, 21-23. At the end of
    ECP Year Two, the TPA found that there is still “no effective procedure in place to identify or
    develop preventive actions or Root Cause and Analysis.” TPA Second Annual Report at 3.



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    Final (May 8, 2018), PCL_ECP00051998-52050.27 As discussed below, the initial Company

    deadlines have passed or been revised, and many proposed actions remain incomplete, including

    the revision of relevant procedures and guidance.28

            Around the same time as its September 2018 submission to the Court, in a separate

    correspondence with the CAM, the Company announced its plan to create a new, independent

    department that would be responsible for what are deemed to be significant HESS investigations.

    Company’s Proposed Change to Maritime Investigations & Modification of the ECP (Sept. 5,

    2018), at 1. The Company missed its proposed deadlines in the September 2018 Court

    submission while it conducted an extensive search for an individual to lead this new

    investigations department, which has been named the Incident Analysis Group. In late March

    2019, the Company hired a former official from the United States National Transportation Safety

    Board to lead the new department as the Vice President of the Incident Analysis Group. See

    CAM September 2019 Quarterly Report at 46.

            On August 30, 2019, the CAM Team requested an updated timeline for implementation

    of the efforts to address the CAM and DNV GL findings. See Court Appointed Monitor

    Communication Thirteenth Request for Documents and Information (Aug. 30, 2019). The


    27
       DNV GL’s recommendations included the need for: (1) a more clearly defined and consistent
    incident investigation process, with clear lines of authority across the brands; (2) a more
    structured approach to root cause analysis and reporting; (3) improved training on investigations;
    (4) consistent investigation and reporting methodology; and (5) methods for tracking and
    trending this information across the fleet to identify and manage key areas of risk. See id. at
    PCL_ECP00052035-39.
    28
      The proposed deadline for finalizing these procedures was September 30, 2018. See Proposed
    Investigations Timeline. Shortly before that deadline, the Company provided the CAM with
    draft revised procedures, prepared by DNV GL. See Carnival - Investigation Policies and
    Procedures (Sept. 25, 2018). However, as noted below, the review and finalization of these
    procedures was suspended pending the hire of the new investigations group lead, and is still
    incomplete.


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    Company provided a list of actions and anticipated completion dates, including the following

    actions which had target completion dates of September 16, 2019, but remain incomplete:

              By September 16, 2019, finalizing revised investigation procedures, report templates,
               and relevant appendices;

              By September 16, 2019, developing a procedure for accreditation of incident
               investigators; and

              By September 16, 2019, implementing a competency development process.

    See Court Appointed Monitor Communication – Twelfth & Thirteenth Requests for Documents

    and Information (Sept. 13, 2019).

                   2.         Updates on Progress Toward Improving the Investigations Program

                         i.      Incident Analysis Group Structure

           The Incident Analysis Group is part of the All Brands Group Ethics and Compliance

    Department. The Vice President of the Incident Analysis Group currently reports to the General

    Corporate Compliance Manager. See October 2019 Final Charter at 16. However, the CAM

    understands that the Company recently decided to transfer oversight of the Incident Analysis

    Group to the Health/Safety/Security Corporate Compliance Manager, a position that will be

    filled by the current All Brands Group Vice President of Corporate Compliance for Safety,

    Security & Health. See Employee Interview Notes.

           Under the current structure, the Incident Analysis Group handles investigations of what

    are deemed to be significant HESS investigations, while the brands/operating lines and ships

    continue to perform what are deemed to be less significant HESS investigations.29 RAAS

    continues to perform certain non-HESS (e.g., financial/fraud) investigations.



    29
     The CAM understands that the revised investigation procedures will include a risk assessment
    matrix that will provide guidance on classifying the significance/severity of HESS incidents and



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           The Company’s revised investigation procedures remain incomplete. As a result, the

    delineation of matters which will be investigated by the Incident Analysis Group, the

    brands/operating lines, and/or the ships remains unclear. Further, the division of authority

    between key corporate leaders—including the Vice President of the Incident Analysis Group, the

    Chief Maritime Officer, and the Chief Ethics and Compliance Officer—also remains unclear

    with respect to: the decision whether to investigate an incident; the review, assessment, and

    possible revision of investigation reports; and the communication of findings and lessons learned

    more broadly across the Company. Even with the efforts to centralize the investigations

    structure and process, the CAM understands that brand/operating line, ship, and RAAS

    investigations continue to operate subject to separate oversight. In addition, the CAM

    understands that there may be some limitations in the ability of personnel to access and review

    incident-specific information from different brands in the new SeaEvent platform. See

    Employee Interview Notes. It remains to be seen whether these separate groups will effectively

    coordinate and share incident information, best practices, and lessons learned in order to support

    Company-wide continuous improvement efforts and implement the recommendations laid out by

    DNV GL eighteen months ago.

                        ii.   Incident Analysis Group Staffing

           The Incident Analysis Group has eight investigator positions (seven of which are filled as

    of the date of this Report). The investigators are divided across the Company, each based out of

    one of the Company’s brand/operating line or All Brands Group offices. Three of the current

    investigators are former RAAS investigators, hired prior to the formation of the Incident



    near misses for investigation by the Incident Analysis Group, brands/operating lines, and/or
    ships. As noted below, however, the current classification of matters for investigation is unclear.


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    Analysis Group. The other four investigators are new hires hailing from a varied background.

    They include a senior class surveyor, a Carnival Corp. RAAS auditor, a Carnival Australia

    Maritime Compliance Officer, and an investigator from the United Kingdom Marine Accident

    Investigation Branch. See Incident Analysis Group Investigator Resumes, PCL_ECP00124811-

    23. The Company is recruiting for the vacant eighth investigator position, following the recent

    promotion of one investigator to the position of Deputy Vice President of the Incident Analysis

    Group. See October 2019 Probation Supervision Report, Attachment 3, at 4-5. The CAM

    understands that the new Deputy will, among other duties, oversee the onboarding and

    accreditation process for new investigators, as discussed further below. See Employee Interview

    Notes.

                         iii.   Revised Investigation Procedures

             As of the date of this Report, the Company has not finalized its revised investigation

    procedures, guidance, report templates, and relevant appendices. These had an initial proposed

    deadline of September 30, 2018, see Proposed Investigations Timeline, and a revised target

    deadline of September 16, 2019. See Court Appointed Monitor Communication – Twelfth &

    Thirteenth Requests for Documents and Information (Sept. 13, 2019); see also Employee

    Interview Notes. The CAM Team initially reviewed a draft set of procedures prepared by DNV

    GL in September 2018, and then a draft set prepared under the Vice President of the Incident

    Analysis Group in July 2019. See CAM September 2019 Quarterly Report at 51-52. Each draft

    provided guidance regarding the process for conducting an investigation. However, each draft

    also lacked certain elements, including guidance for root cause analysis, as well as processes for

    the dissemination of lessons learned, data sharing, and trend analysis. The CAM Team will

    review the latest revised procedures when they are available, including the roles and




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    responsibilities of key decision makers, Incident Analysis Group investigators, and

    brand/operating line- and ship-specific personnel.

                        iv.    Training and Certification

                                   (1)     CAUSAL ANALYSIS TRAINING

           From November 11-14, 2019, the Company held a training on causal analysis for

    Incident Analysis Group investigators and management in its Miami, Florida offices. The

    training was conducted by MTO Safety, an outside consultant retained by the Company. See

    October 2019 Probation Supervision Report, Attachment 3, at 4-5. Members of the CAM Team

    attended a short overview of the training, provided by MTO Safety, on November 15, 2019.

           Based on the limited course summary, the CAM understands that the MTO Safety course

    covered: an overview of incident investigations generally; the role investigations play in the

    broader loop of continuous improvement for an organization; and a simple technique to

    systematically assess the causal chain (or roots) of an incident. The training overview provided

    to the CAM Team emphasized the importance of identifying and reviewing all underlying

    causes, or “pre-incidents,” leading to the final incident. This approach helps to identify any

    underlying or systemic causes of an incident, rather than just the proximate (i.e., direct or

    immediate) causes of an incident, which are often symptoms of the underlying or systemic

    causes. This causal assessment is aided through a proprietary MTO Safety software that

    structures the chain of events, causes, risk barriers, and deviations in simple diagrams.30

    Attendee feedback on the training to the CAM Team was largely positive. The CAM




    30
      The CAM understands that the Company has a license to use this software for a limited period.
    The process set forth in the software, however, while useful, can also be replicated manually.


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    understands that participants also recommended the incorporation of additional role play

    exercises and guidance on report generation. See Employee Interview Notes.

           The Company plans to offer the causal analysis training at CSMART in February, April,

    and July 2020 for shoreside staff that conduct investigations on behalf of the Incident Analysis

    Group or at a brand/operating line; and, in 2021, will require the training for shipboard Second or

    First Officers, Safety Officers, Second or First Engineers, and Senior First Engineers before any

    of these positions can be promoted to Staff Captain or Staff Chief Engineer. See October 2019

    Probation Supervision Report, Attachment 3, at 4. This language indicates that the training will

    only be required for shipboard personnel that will be promoted to Staff Captain or Staff Chief

    Engineer, and will otherwise remain optional for shipboard personnel.

           In addition to the in-person training course, the Company retained an outside consultant,

    the University of West Florida, to develop a computer-based training module on root cause

    analysis to be provided to shipboard and shoreside personnel that conduct what are deemed to be

    less significant HESS investigations. Id. The Company reports that this training was rolled out

    around mid-December 2019. See Employee Interview Notes. However, pending final revised

    procedures on the investigation process, it is not clear which ship or shoreside personnel will be

    investigating such incidents, whether this training will be required for such personnel, or what

    the process will be for brand/operating line- and ship-led investigations.

                                  (2)     INCIDENT ANALYSIS GROUP INVESTIGATOR ACCREDITATION

           As of the date of this Report, the Company continues to work on finalizing its new

    procedures for incident investigator accreditation and competency development. These had a

    target completion date of September 16, 2019. See Court Appointed Monitor Communication –

    Twelfth & Thirteenth Requests for Documents and Information (Sept. 13, 2019), at 5. The CAM




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    understands, however, that new Incident Analysis Group investigators are subject to an internal

    review process prior to leading investigations—a process which each of the new hires mentioned

    above has completed or is currently undergoing. As part of this process, a new investigator

    partners with an existing investigator to assist the existing investigator in one or more

    investigations. Following the completion of that initial investigation or investigations, the roles

    will swap, and the new investigator will lead an investigation with assistance from the existing

    investigator. Upon recommendation by the existing investigator, the Deputy Vice President of

    the Incident Analysis Group will conduct an observation-based assessment of the new

    investigator and determine whether they are ready to lead an investigation independently.

    Separately, as part of onboarding, the CAM understands that investigators attend various

    technical training courses at CSMART, including Bridge Resource Management and Engine

    Resource Management. See id. at 3; Employee Interview Notes.

                         v.    IT Challenges

           Management of data and information needed for compliance continues to be a challenge

    for the Company, including as it relates to investigations. For example, the CAM understands

    that the Incident Analysis Group was only recently able to provide: (1) access to investigation

    “reports, recommendations, action owners, and due dates” on Global HESS, see October 2019

    Probation Supervision Report, Attachment 3, at 4; (2) centralized investigation data and records

    on a shared drive; and (3) ready access to records for various brands/operating lines in the

    SeaEvent tracking and reporting system. See Employee Interview Notes. The CAM understands

    that the Company does not currently have a systematic method to track and analyze investigation




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    root causes and findings, which may present an obstacle to the identification of investigation

    trends for assessment and follow-up. See id.

                           vi.   Investigation Reports

              The CAM Team continues to review investigation reports for HESS incidents prepared

    by the Incident Analysis Group, as well as the brands/operating lines and ships. The factual and

    technical assessments in the Incident Analysis Group reports vary in quality. Some appear to be

    both factually and technically thorough with an assessment of direct, contributing, and

    potentially systemic causes. See, e.g., Final Report, Costa Deliziosa, Near Miss Allision in

    Venice, IAG2019030 (Oct. 14, 2019), PCL_ECP00142870-886 (a safety, rather than an

    environmental, incident). Even these, however, may fail to identify or address broader, systemic

    concerns or share lessons learned to the broader corporate audience, both shipboard and

    shoreside. For example, a recent report regarding a near miss allision31 identifies the ineffective

    implementation of Bridge Resource Management32 techniques as a contributing factor to the near

    miss. See id. at PCL_ECP00142884 (“The principles of good [Bridge Resource Management]

    were not always evident and they were a contributive factor.”). The report recommends that data

    on the incident be sent to CSMART for “review and making of a case study.” Id. The report,

    however, does not identify or address that the failure of Bridge Resource Management, Engine

    Resource Management (a similar concept, applied to the engineering team), or related




    31
         An allision occurs when a ship strikes a stationary object.
    32
       The Company defines Bridge Resource Management as the “effective management and
    utilization of all resources, human and technical, available to the bridge team to ensure the safe
    completion of the ship’s voyage from berth to berth.” Id. at PCL_ECP00142879.



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    communications is found to be a contributing cause or factor in numerous investigation reports.33

    The review and recommendations in the near miss allision report, as in others, appear to have

    been developed in isolation, and highlight the Company’s apparent resistance to identifying,

    assessing, and addressing what may be systematic trends. This challenge is heightened by the

    differing approaches to investigations taken within the brands/operating lines and on ships,

    where investigation reports continue to vary widely in both substance and format.34

                   3.     Ongoing CAM Team Examination

           The CAM Team will continue to monitor, assess, and report on the Company’s efforts to

    restructure and enhance its internal investigations function during ECP Year Three, including:



    33
       See, e.g., Investigation Report Caribbean Princess Black Water Discharge (Feb. 12, 2019),
    PCL_ECP00139484-500; Crown Princess, KP20180048 (Aug. 16, 2018), PCL_ECP00136843-
    49; Investigation Memo No. 54/2018 Zuiderdam – Emissions in Icelandic Exclusive Economic
    Zone (Aug. 10, 2018), PCL_ECP00138243-62; Investigation Memo No. 56/2018, Grand
    Princess – Washwater Discharge (June 13, 2018), PCL_ECP00137879-903; Investigation Memo
    No. 59/2018 Carnival Dream – Sewage Discharge (June 3, 2018), PCL_ECP00137638-52;
    Investigation Memo No. 42/2017 Oosterdam – Untreated Ballast Discharge (Aug. 2, 2017),
    PCL_ECP00138016-24. More recently, though shortly after the release of the Costa Deliziosa
    report discussed above, the National Transportation Safety Board released a Marine Accident
    Brief regarding a Carnival Horizon allision at New York’s Manhattan Cruise Terminal, which
    identified the ineffective implementation of Bridge Resource Management techniques, as well as
    “ineffective interaction and communication,” as a probable cause of the incident. See Marine
    Accident Brief: Contact of Cruise Ship Carnival Horizon with Manhattan Cruise Terminal Pier
    90 (Oct. 22, 2019), available at
    https://www.ntsb.gov/investigations/AccidentReports/Pages/MAB1929.aspx.
    34
       For example, a recent HESS Report to the Company’s Boards of Directors includes an
    overview of a ship-led investigation that may have failed to review a key contributing factor and
    generate recommendations regarding a potentially significant issue. See Health, Environmental,
    Safety and Security, Technical, Regulatory, and Sustainability Report (July 2019),
    PCL_ECP00137197-325, at PCL_ECP00137229. The investigation attributed the cause of an
    illegal sewage discharge on the Queen Victoria to an oversight failure by a bridge officer who
    was distracted, in part, by “an IT project team visit to the Bridge.” Id. The report identifies
    several corrective actions, including re-briefing of relevant personnel on “maintaining situational
    awareness and avoiding distractions,” but fails to include any causal findings or corrective
    actions related to the deployment and scheduling of project teams by shoreside personnel. See
    id.


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    (1) the Company’s timetable and plans to meet milestones to enhance investigations; (2) the

    function and structure of the Incident Analysis Group; (3) the development, implementation, and

    effectiveness of investigation policies and procedures; (4) the process for identifying and

    classifying matters for investigation, including the individuals responsible for making such

    determinations and the timeframes for making them; (5) training for Incident Analysis Group,

    brand/operating line, and ship investigators; (6) the process and methodologies for root cause

    analysis that will be used by Incident Analysis Group, brand/operating line, and ship

    investigators; and (7) the process for disseminating investigation results and lessons learned to

    corporate leadership, including the Boards of Directors, and the fleets more broadly. See Third

    Annual Work Plan at 14.

           D.      Food Waste Management

                   1.      Background

           Food waste management—specifically, the risk that non-food items, including plastics,

    are discharged into the ocean with food waste—remains a widespread and pressing challenge.

    See CAM September 2019 Quarterly Report at 60-69; CAM Second Annual Report at 86-90;

    TPA Second Annual Report at 3, 17-18. As discussed in prior CAM reports, the problem was

    identified by the Company’s own employees as early as February 2018,35 and was the basis for a

    TPA audit finding in December 2018. However, the Company’s top leadership did not focus on

    this issue until it faced the revocation of its probation in March 2019. On June 3, 2019, the

    Company pleaded guilty to a probation violation for the illegal discharge of non-food items,


    35
       See CAM Second Annual Report at 88 (discussing the identification of concerns related to
    food waste management across multiple operating lines and brands in February 2018 in the ECP-
    required Fleet Engineering Survey results, as well as more than forty reports of incidents related
    to food waste management on Covered Vessels throughout ECP Year Two); CAM September
    2019 Quarterly Report at 61.


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    including plastics, in food waste by a Carnival Cruise Line ship in Bahamian waters in December

    2018, along with the failure to accurately record the discharge in the ship’s Garbage Record

    Book. See Dkt. No. 134 at 11.

              Further review has confirmed that this issue is Company-wide. Since the start of ECP

    Year Three and as a result of increased checks of food waste systems, the Company’s employees

    have detected and reported hundreds of events across all its operating lines and brands involving

    the discovery of comingled waste, including plastics, in various parts of the ships’ food waste

    systems that have resulted in actual or potential prohibited discharges. See, e.g., Carnival Corp.

    HESS Weekly Flash Reports (Apr. 24, 2019 through Aug. 7, 2019); Carnival Corp. Food Waste

    and Galley Grey System Contamination Fleet Dashboards (July 21, 2019 through Dec. 11,

    2019). The TPA also continues to find issues related to food waste management in its ship

    audits. See, e.g., ABSG, Holland America Line Environmental Compliance Audit Report –

    Veendam (Oct. 10, 2019) (issuing four Major Non-Conformity findings related to food waste

    management on the Holland America Line Veendam: (1) discovery of non-food items on the

    overboard food chute metal grill while observing an overboard discharge operation;

    (2) discovery of non-food items during an inspection of galley grease traps; (3) discovery of a

    non-food item floating on the tank surface during an inspection of galley grey water drain tanks;

    and (4) discovery of four missing galley drain scupper covers in the galleys and food preparation

    areas).

              In the Probation Agreement, the Company admitted “that there is a need to improve

    waste management of non-food waste, including plastic garbage, on Covered Vessels and by

    Covered Personnel.” Dkt. No. 134 at 5. The Company agreed to take various actions to




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    prioritize this issue, including creating two self-described “food waste Tiger Teams” 36 that are a

    subset of a larger Food Waste Task Force, and implementing a three-part program to improve its

    food waste management practices. See Dkt. No. 134 at 5-7; CAM September 2019 Quarterly

    Report at 62-67 (describing activities of the Tiger Teams and Food Waste Task Force, and

    efforts to implement the three-part program, during the first quarter of ECP Year Three).

                   2.         Updates on Probation Agreement Requirements

           The Company continues to implement the three-part program required by the Probation

    Agreement:

                         i.      Part One of Three Part Program

              Part One requires the Company to “(1) develop and implement clearer and more
               effective procedures regarding the disposal of food waste; (2) develop new training
               and signage to ensure that the proper procedures are understood; and (3) use
               appropriate media, in particular video, to call attention to the new training,
               procedures, and the renewed commitment to handling of food waste. The Company
               will also (4) assess the staffing levels for both the operational and compliance aspects
               of food waste management using a qualified third party to determine appropriate
               resources to comply with the updated procedures.” Dkt. No. 134 at 6. For the first
               three items, “by August 1, 2019, the Company will provide to the Interested Parties,
               TPA, and CAM an implementation plan specifying the project, the project owner, and
               specific timetables. With respect to the fourth item, the Company will retain a
               qualified third party to assess the necessary staffing. The Company will provide a
               copy of the third party assessment to the Interested Parties, CAM and TPA within
               seven days of receipt. Within 45 days after receiving that third party’s assessment,
               the Company will provide the Interested Parties, TPA, and the CAM with its plan in




    36
      “Tiger Team” is a term of art that arose from aeronautics in the 1960s to describe a team of
    technical experts who are given unrestricted freedom to track down and assess all possible
    sources of failure in a system, and to develop solutions. The term is “generally applied to a high-
    functioning team of specialists who come together to complete a specific project.” See What is a
    Tiger Team Approach?, https://trextel.com/what-is-a-tiger-team-approach-how-to-successfully-
    launch-technology-and-save-space-missions-too/.


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               response to the assessment. This plan will address the workload of the Environmental
               Officer.” Id. at 7.

           For the first three items of Part One, the Company provided the Interested Parties, CAM,

    and TPA with its Food Waste Management Implementation Plan on August 1, 2019, and with an

    Update containing a more detailed implementation plan on September 4, 2019. See CAM

    September 2019 Quarterly Report at 63-65 (discussing Food Waste Management Implementation

    Plan and Update). The Environmental Corporate Compliance Manager has hired two individuals

    (one from Princess and one from Carnival UK) to “work[] exclusively on project managing the

    adoption of various measures to help ensure food waste compliance.” October 2019 Probation

    Supervision Report, Attachment 3, at 12. These individuals “are currently focused on

    developing new procedures, training, signage, and other measures designed to help compliance.”

    Id.

           Among other initiatives, the Food Waste Management Implementation Plan and Update

    call for “[r]eplacing the existing food waste Instructional Notice[37] with a clear and concise

    HESS procedure that incorporates the feedback gained from the Tiger Team visits.” Update at

    PCL_ECP00134215. On October 24, 2019, the Company published this procedure in its Global

    HESS system. See ENV-1302 Segregation and Disposal of Food Waste (“ENV-1302”); see also

    Environmental Compliance Notice #6-2019. Notable changes from the prior Instructional Notice

    include: (1) establishing a standardized “two-step process” for food waste segregation to be used




    37
      On May 1, 2019, the Company issued a five-page Instructional Notice setting forth a range of
    food waste management requirements, including requirements for waste segregation,
    supervision, equipment and tank inspections, reporting, and recordkeeping. See IN ENV-07-
    2019 Additional Measures to Ensure Compliant Segregation of Food Waste.



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    across all Company ships;38 (2) establishing a requirement for color-coded waste bin/container

    systems to be implemented on ships “at all locations where food waste is initially segregated” by

    January 31, 2020;39 and (3) reducing the requirement for inspecting the bottoms of food waste

    holding tanks for non-food waste items from weekly to “at least once per month.”40 Id. The

    CAM Team will monitor the implementation of this procedure, including soliciting feedback on

    the feasibility, clarity, and effectiveness of its requirements.

            For the fourth item of Part One, the Environmental Corporate Compliance Manager

    retained an outside consultant, Lloyd’s Register, to perform the review of staffing levels. This

    review will consist of “a manning assessment of [the Company’s] waste management processes,

    including an on-board assessment for eleven vessels” across multiple Company brands. Request

    for Consultancy Services (Sept. 17, 2019), PCL_ECP00139907-10, at PCL_ECP00139907. The

    work program contains three phases: (1) ”Review the documentation associated with current

    processes;” (2) ”Review current processes – on board manning assessment;” and (3) ”Release of

    manning assessment report and presentation.” Id. The overall aim of the work is to “[a]ssess the

    staffing levels for both the operational and compliance aspects of food waste management (to

    include supervisory positions and the Environmental Officer),” and to support the Company “by

    making recommendations on current signage and/or training as relevant to staffing levels.”



    38
      For Step One, non-food waste items are to be segregated from food waste “starting as close to
    the source (where generated) as possible.” See ENV-1302. For Step Two, all food waste
    bins/containers must be checked using a sorting table to identify and remove any additional non-
    food waste items. Id.
    39
      The waste bin/containers must identify the type of waste they are designed for using the
    following color codes: red = food waste; blue = aluminum; yellow = glass; white = broken
    china/crockery; grey = paper and plastic. Id.
    40
      The tops of food waste holding tanks still must be inspected for non-food waste items prior to
    discharge, “[w]here feasible.” Id.


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    Waste Management Improvements Program [Proposal] (July 10, 2019), PCL_ECP00139870-

    906, at PCL_ECP00139872. According to the Company, the consultant “will need until the end

    of January [2020] to conduct shipboard assessments” and “then will require another two months

    until the end of March [2020] to conduct analysis and provide a report of its findings.” [Draft]

    Carnival Corporation’s Response to Government’s Suggestions Regarding Environmental

    Performance Metrics (Oct. 29, 2019), at 1. “To allow for unforeseen delays, the Company has

    set April 30, 2020 as the deadline” for completion of the assessment. Id. at 2. This timeline

    means that the assessment will not be completed until the beginning of ECP Year Four.

                         ii.   Part Two of Three Part Program

              Part Two requires the Company to “design and implement procedures to reduce the
               purchase and consumption of single-use plastic items across the corporate fleet by 50
               percent by December 31, 2021. It will also design strategies to reduce the total
               weight of food waste that the Company creates by 10 percent by December 31,
               2021.” Dkt. No. 134 at 7.41

           For Part Two, the Company has developed baselines to measure its production and

    consumption of single-use plastics and generation of food waste by weight. On single-use

    plastics, the Company intends to use 2018 aggregated procurement data for numerous single-use

    plastic items as its baseline for measurement against the goal of reducing its single-use plastics

    by 50% by December 31, 2021. See [Draft] Carnival Corporation’s Response to Government’s

    Suggestions Regarding Environmental Performance Metrics (Oct. 29, 2019), at 2, Appendix B.

    The Company reports that it “is taking a two pronged approach to reducing single use plastics.”

    Id. at 2. The first prong will focus “on small items such as plastic straws, plastic stir sticks,


    41
      The Company describes single-use plastic items as including “straws, cups, lids, stir sticks,
    cutlery, cocktail picks, tooth picks, butter packets, serving sauce packets, honey packets, sugar
    packets, sweetener packets, plastic bags in retail stores, Company provided Q-tips, Company-
    provided individual shampoo bottles, plastic garbage bags in cabins, and balloons used during
    outdoor events.” Id.


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    plastic cocktail sticks and plastic toothpicks that are challenging to segregate from food waste.

    Items with obvious substitutes such as plastic cups, plastic cup lids, plastic cutlery and plastic

    shopping bags are also included in the Company’s first tier of eliminated items.” Id. The goal

    for this first prong “was October 31, 2019 and removal of those items is nearly complete.” Id.

    The second prong “has kicked off and will focus on all other single use plastic items including

    individual amenity bottles, plastic Q tips, plastic garnish picks and individual sauce packages.”

    Id. In addition, “there are ongoing efforts to reduce the use of plastic water bottles as part of the

    second phase of our plastics reduction efforts.” Id. The Company “intends to track its reduction

    of single use plastics and will provide updates semiannually in June and December.” Id.

           On food waste generation, the Company “measured the weight of all food waste

    generated [on its ships] during the first two weeks of October 2019 (using scales and/or

    previously determined average bin weights), and will use that measurement as a baseline from

    which to measure progress” against the goal of reducing the total weight of food waste by 10%

    by December 31, 2021. Id. at 1. The Company “intends to track its generation of food waste per

    person on board per day (to normalize for variances in occupancy levels throughout the year) and

    will provide updates semiannually in April and October.” Id.

           The Company is also in the process of reviewing “food waste management and

    minimization systems” that can “provide an accurate record of the items wasted as well as the

    weight.” Food Waste Management Implementation Plan at 10. One of these systems is

    currently installed on some Costa Group ships. Id. The Company is also reviewing the

    feasibility of global adoption of the Costa Group “4GoodFood” program, a food waste reduction

    program that aims to cut food waste in half by 2020. See id.




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                       iii.   Part Three of Three Part Program

              Part Three requires the Company, by October 31, 2019, to “review and provide an
               analysis of: (1) new food waste disposal technologies; (2) options for redesign of
               existing food waste disposal systems and associated processes; and (3) the
               optimization of food waste disposal systems and associated processes.” Dkt. No. 134
               at 7. Further, by January 31, 2020, the Company “shall provide to the Interested
               Parties, TPA, and CAM an implementation plan to optimize food waste management,
               including food waste disposal systems and associated processes, specifying projects,
               the project owners, and specific timetables for milestones.” Id.

           For Part Three, on October 31, 2019, the Company submitted its review and analysis of

    food waste disposal technologies, systems, and processes. See Food Waste Technical Review.

    The review was performed by an independent marine engineer retained by the Environmental

    Corporate Compliance Manager, in conjunction with a marine consultant and the Tiger Teams.

    The report contains “the joint considerations, recommendations, and views” of these individuals.

    Id. at 1. Observations and considerations from the report include:

              A “one size fits all” or “off the shelf” technical solution “is not readily apparent and
               custom solutions will need to be developed.” Id.;

              Change management “is an important factor to consider when developing the future
               plan. Technical change decisions need to be reviewed by designated individuals or
               their delegates (stakeholders) to determine the impact to certain key areas, including
               manning and workload, before approval . . . Risk-based decision-making strategies
               coupled with a change management process have been well proven in the Oil and Gas
               industry for several decades and will go a long way towards helping to harmonize
               equipment installed across [the Company’s] fleet and reducing the risk of unplanned
               operational impacts, including costs.” Id. at 1-2; and

              An “important goal should be to reduce/eliminate single-use plastics onboard”
               because “the most effective way to stop plastic from being discharged into the ocean
               is to avoid using it onboard in the first place. If plastic ends up in a pulper/vacuum
               system, it will likely be macerated into smaller pieces that might be indistinguishable
               from the organic matter it is blended with.” Id. at 2. The Company should also
               “capitalize on the existing motivation and desire of its crew members to play their
               part in sorting food waste at the source and provide the necessary resources (people),
               training and means (equipment) to achieve compliance.” Id.




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           Recommendations from the Report include:

              Developing and implementing a technical management of change procedure, which
               “should give the individual/team reviewing the specific technical/system change the
               authority to stop work/deny progress on the requested change until they are satisfied
               it addresses their relevant safety, public health, environmental, operational and
               functional concern.” Id. at 2-3;

              Adopting one of two possible solutions to address “increased hotel crew workload”
               resulting from the shutdown of food transfer/pulper stations:42 (1) return a minimum
               of three pulper stations to service; or (2) install food waste digesters43 that can process
               all food waste generated onboard. Id. at 3-4. The report notes that “[i]t is
               unreasonable to expect crew members to effectively separate all non-food items from
               food waste on a ship that generates several tons of food waste each day[.]” Id. at 3;

              Installing magnetic traps in food waste disposal systems to capture metallic items,
               such as cutlery, that inadvertently enter the system. Id. at 6-7;

              Installing filters on washing machines because multiple ships “identified laundry as a
               potential source of plastic pollution.” Id. at 7; and

              Conducting engineering studies of food waste and grey water systems for each ship
               before upgrades. Id. at 9-10.

           Finally, the report evaluates a range of food waste technologies, and concludes that there

    are only two “viable upgrade options available in the short term to improve [the Company’s]

    current food waste processing equipment capabilities:” (1) upgrades to the existing pulper

    systems, including installing food waste dryers; or (2) installing food waste digesters. See id. at


    42
       The report notes that these stations were shut down on many ships “to help ensure food waste
    management is compliant through increased supervision and the use of fewer stations, and also
    due to increased maintenance and workload resulting from breakdowns caused by non-food
    items like cutlery entering the pulper system.” Id. at 3. However, this was done “with little to no
    apparent consideration for the long term occupational health and safety implications of manually
    handling and moving heavy buckets of food waste around the ship,” which has “resulted in crew
    members resorting to whatever means are available to make their jobs easier. On one ship, crew
    members resorted to using forklifts to create a temporary work platform to aid in the transfer of
    food waste into a food chute in the recycling center, which increases the risk of injury.” Id.
    43
      A digester is “essentially a mechanized steel version of a human stomach that partially digests
    food waste and separates the water component.” Id. at 11. They reportedly “cannot digest
    plastic and other non-food items like metals.” Id. Such non-food items are removed on a
    periodic or as-needed basis. Id.


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    10. Of these options, the report finds that research conducted to date indicates that digesters

    bring more benefits and “are a viable and effective means for [the Company] to enhance its food

    waste processing capability and related compliance obligations.” Id. at 11.

            As noted in the most recent CAM report, the Environmental Corporate Compliance

    Manager is “leading a project to evaluate the benefits of green technology food waste digesters.”

    CAM September 2019 Quarterly Report at 67; October 2019 Probation Supervision Report,

    Attachment 3, at 12-13. Three different types of digesters are being tested on Company ships,

    with over fifty units purchased to date. See id. The Environmental Corporate Compliance

    Manager is also “leading an effort to evaluate galley grey water filtration equipment and the

    development of a new standard for grey water filtration across the Company’s fleet.” Id. The

    CAM Team will continue to monitor the Company’s testing, procurement, and use of food waste

    digesters, as well as its testing, treatment, and regulation of digester effluent.

                    3.      Other Initiatives

            The Company continues to implement other food waste initiatives not discussed above,

    including:

                The weekly food waste dashboard, which summarizes data by ship for both Covered
                 and non-Covered Vessels on: (1) the results of daily compliance checks of food
                 waste systems;44 (2) the results of food waste tank inspections, which includes reports
                 of items found in food waste tanks, pulpers, and/or magnetic traps; (3) the results of
                 grey water system inspections, which includes reports of items found in the grey
                 water system (typically in grease traps); and (4) the status of drain bell/scupper cover
                 installation and securing;45 and

                The “Food Waste Shuffle” music video competition initiated by the Environmental
                 Corporate Compliance Manager and his team. Each ship and shoreside office had the

    44
      The CAM understands that the components of the food waste system covered by these checks
    differ by ship.
    45
      As discussed in the most recent CAM report, the Company launched an initiative to replace
    missing drain bells and scupper covers following a TPA audit finding that missing covers were



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               opportunity to enter, but was not required to do so. Over seventy-five videos were
               submitted. Three winning ships will receive prizes. See October 2019 Probation
               Supervision Report, Attachment 3, at 13; Employee Interview Notes.

                   4.     Ongoing CAM Team Examination

           The CAM Team will continue to monitor and assess issues associated with food waste

    management. This will include the review, assessment, and tracking of the Tiger Team

    program and food waste initiatives, including the Food Waste Management Implementation Plan

    and Update, Food Waste Technical Review, and other components and deadlines of the three-

    part program set forth in the Probation Agreement. See Third Annual Work Plan at 7. As noted

    above, this will include examining the Company’s testing, procurement, and use of food waste

    digesters, as well as its testing, treatment, and regulation of digester effluent. The CAM Team

    also continues to review the Company’s weekly food waste dashboard.

           In addition, the CAM Team will evaluate the Company’s process for selecting and

    vetting: (1) shoreside waste vendors who handle the disposal of wastes offloaded from ships,

    including plastics, food waste, and other waste streams; and (2) vendors of equipment to be

    installed onboard, including food waste digesters. The Company’s 2018 Sustainability Report

    touts the Company’s goal to “[f]urther develop and implement [waste] vendor assurance

    procedures[.]” See Sustainability from Ship to Shore: FY2018 Sustainability Report, at 12,




    causing non-food items, including plastics, to drain into a ship’s grey water system. See CAM
    September 2019 Quarterly Report at 68. For a two-week period in November 2019, data on
    drain bell/scupper cover installations was missing from the food waste dashboard after the
    Company became aware of inconsistent interpretations by ships as to what was required due to
    ambiguity in the related Environmental Compliance Notice. See Drainbell Dashboard
    Clarification (Nov. 1, 2019); Environmental Compliance Notice #3-2019; Employee Interview
    Notes.



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    available at https://carnivalsustainability.com/. However, the Company has conceded that not all

    operating lines are following Company requirements for the vetting of waste offload vendors.46

           E.      Training

           The CAM Team continues to monitor the Company’s training in support of

    environmental compliance. This includes its ECP-related curriculum and the integration of

    environmental compliance into trainings for deck and technical personnel. See CAM First

    Annual Report at 21-23, 69-70; CAM Second Annual Report at 31-35; CAM September 2019

    Quarterly Report at 69-80.

                   1.      General Updates on Company Initiatives

           The Company continues to invest resources in environmental and ECP-related training.

    Notable recent updates include:

               CSMART Training Courses. The Company continues to conduct environmental
                and compliance-related trainings at its CSMART training center, including
                Environmental Officer training, Operational Excellence training for deck, technical,
                and environmental officers, and leadership training for deck, technical, and hotel
                employees. See October 2019 Probation Supervision Report, Attachment 3, at 7-8.
                As discussed below, see infra, Part III.E.3, CSMART held the first two iterations of
                the new Environmental Excellence, or Environmental Officer 3 (“EO3”), hybrid
                training/conference event (required for those in their third year as an Environmental
                Officer under the ECP) in August and November 2019; and




    46
      The Company reports that “[c]urrent Company procedures require each Operating Line to
    develop and implement a waste offload vetting program as a Company Policy. The TPA and the
    Company’s internal audit team have identified that not all Operating Lines are following the
    procedure. The Company has revised its procedure to require a standard vetting process for each
    waste vendor and is developing an implementation plan and timeline. Operating Lines will
    continue to be held responsible for vetting their waste vendors. It is expected this will take at
    least a year to vet all waste vendors.” [Draft] Carnival Corporation’s Response to
    Government’s Suggestions Regarding Environmental Performance Metrics (Oct. 29, 2019), at 3.


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              IT Tools. The Company continues to develop and roll-out various IT tools related to
               training, including: (1) the Global Learning and Development Information System
               (“GLADIS”), a learning management system designed to deploy and track training;
               (2) CrewTube, an application for smart phones and tablets that allows crew members
               to access HESS information and complete some HESS trainings before joining a ship;
               (3) a new offline, tablet-based drill application to “assess training and drills;” (4) a
               new Instructor Led Training Attendance App that will be able to scan crew member
               IDs to assist in recording attendance at shipboard trainings; and (5) an online chat
               forum called The Environmental Hub for Environmental Officers to “share
               environmental compliance and stewardship information as well as solicit[] feedback
               on training, procedures and best practices;” and (6) an Environmental Hub Hotel
               Operations Forum for hotel operations personnel “to discuss environmental
               compliance topics, including food waste challenges, ideas, potential best practices,
               etc.” Corporate Compliance Manager’s Quarterly Environmental Compliance
               Report Q3 2019, PCL_ECP001447152-273, at PCL_ECP001447162; see also CAM
               September 2019 Quarterly Report at 70, 82-84 (discussing training-related IT
               initiatives); infra, Part III.G.1 (same).

                   2.        Personnel Updates

           Following the retirement of the Director of Environmental Training at CSMART on

    September 6, 2019, the Company has appointed the former Operating Line Training Manager for

    Costa Group to serve in this role beginning in February 2020. See October 2019 Probation

    Supervision Report, Attachment 3, at 9. In the meantime, the current acting Director will

    continue to serve. Id.

           In addition, the Company recently hired replacement Operating Line Training Managers

    for Carnival Cruise Line, Holland America Group, and Costa Group. See id. at 10; Final

    Functional Leaders List at 1. All Brands Group also hired a new Manager, Ethics and

    Compliance Training. See October 2019 Probation Supervision Report, Attachment 3, at 9.




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                   3.      Environmental Excellence EO3 Course

           As discussed in prior CAM reports, the Company has been working with outside

    consultants to develop and launch a new Environmental Officer CSMART training course, called

    Environmental Excellence or EO3. This course is the third annual training provided to

    Environmental Officers, and is delivered as part of a five-day program in the form of a hybrid

    training/conference event. See CAM Second Annual Report at 32, 35-36. Recognizing the need

    to make Environmental Officer training more interactive and innovative, the program is designed

    to be challenge-based, rather than lecture-based. See id. at 32.

           The CAM Team has attended both iterations of the course held to date: from August 12-

    16, 2019 (also attended by the TPA), and from November 11-15, 2019. The most recent CAM

    report summarizes the August event, including feedback and impressions from the CAM Team.

    See CAM September 2019 Quarterly Report at 71-76. Among other observations, the CAM

    noted that the interactive, challenge-based approach to the course appeared to result in higher

    levels of engagement and collaboration by attendees over the lecture-based EO1 and EO2

    courses. See id. at 73. The CAM also highlighted potential areas for improvement, including

    areas related to course content, course facilitation, and course logistics. See id. at 73-75. On

    October 25, 2019, the TPA issued its report for the audit of the August course. See ABSG,

    Carnival Corporation Environmental Compliance Audit Report – CSMART Environmental

    Officer Course II (EO3) (Sept. 18, 2019). The TPA made similar observations, including:

              “The course format (case studies and discussions with limited lectures/power point
               instruction) tested the overall knowledge of the EO’s while stimulating debate and
               problem solving;”

              “Room where course was held was not conducive to learning;”

              “Lack of IT planning/support: WIFI reception for the room was weak;”




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              “[I]nstructors used the words investigation/inquiry/root cause analysis in the same
               context, not explaining the different levels of effort and training required for each;”

              “Quiz questions asked after completed course sections did not follow the goals and
               objectives of the section” and “were site specific rather than asking students what
               reference(s) the student utilize to find the answers;”

              “Instructors need facilitator training;” and

              “Responsibilities/expectations of individual group member’s positions were not
               explained prior to starting activities.”

    Id. at 5. The Company indicated that it was making changes to the course for the forthcoming

    November session, in response to feedback from the TPA, CAM, participants, instructors, and

    others. See Event Notes; Employee Interview Notes.

           The November iteration of Environmental Excellence appeared to take much of this

    feedback to heart. Similar to the August event, there were approximately forty-five

    Environmental Officer attendees from across the Company’s brands, along with various training,

    compliance, and operations shoreside personnel and outside training consultants. The basic

    structure of the course was largely the same, consisting primarily of thirteen “episode” exercises

    based on hypothetical environmental incident scenarios. These episodes were interspersed with

    a limited number of presentations on topics such as pollution prevention equipment, voyage

    planning, and the new SeaEvent incident and near miss reporting system. See Event Notes.

           Many aspects of the course, however, were altered to address feedback from the August

    session, including:

              A larger classroom and smaller group sizes;

              Improved IT planning and support;

              Reduced references in the course materials to terms like “investigations” or “root
               cause,” which are concepts to be covered in trainings being developed by the Incident
               Analysis Group. Attendees did not express the same concerns about potential role




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               confusion that were raised in the August course. See CAM September 2019
               Quarterly Report at 73;

              Revisions to “clicker test” questions given at the end of each episode to address
               concerns about the relevance, accuracy, and fairness of some of the questions;47

              Bringing in outside consultants to provide the CSMART course facilitators with an
               additional two-day training in course facilitation (as opposed to course instruction)
               prior to the course; and

              Greater instruction and clarity at the outset of the course about how the episodes were
               supposed to run. For instance, explicit instruction was given about individual
               participant roles and task assignments within the groups (such as recorder, presenter,
               and researcher).

    See Event Notes; Employee Interview Notes.

           These changes appeared to result in smoother course facilitation and sustained high levels

    of engagement from attendees. In addition, the November course provided enhanced

    opportunities for attendees to directly provide feedback to shoreside personnel. A range of

    shoreside compliance, training, and operations personnel were present, including the

    Environmental Corporate Compliance Manager, the Compliance Training Manager, multiple

    Operating Line Training Managers, and, for part of the week, the Chief Ethics and Compliance

    Officer and the Chief Maritime Officer. Throughout the week, issues and questions that arose

    during exercises and discussions were collected for follow-up and clarification by shoreside

    personnel. Many of these items were addressed, at least in part, before the week’s end. For

    instance, several impromptu question-and-answer sessions were held during the final two days of

    the course to cover topics that had been flagged, including: how to determine coastal state


    47
       Attendees did, however, raise concerns about the wording of particular questions that posed
    difficulties for non-native English speakers. In addition, the CAM Team observed at least one
    instance where, after it was revealed that a majority of attendees had selected an incorrect answer
    to one question, no effort was made to explore why this had occurred before moving on to the
    next question—i.e., was there a widespread misunderstanding about the issue? A poorly worded
    question? Or something else? This appeared to represent a missed learning opportunity.


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    baselines for voyage planning purposes, see A Review of coastal State Baselines (Nov. 14, 2019),

    PCL_ECP00143425-41; the exercise of “stop work” authority by Environmental Officers if they

    witness an activity that is non-compliant or potentially non-compliant, see Environmental

    Excellence, Some of the parked items . . ., PCL_ECP001447437-44 (“Parked Items

    Presentation”), at PCL_ECP00144742;48 reporting requirements for Advanced Air Quality

    System emissions exceedances;49 and technical points regarding the operation of pollution

    prevention equipment. See Event Notes; Parked Items Presentation at PCL_ECP001447440-41.

           Overall, attendees expressed to the CAM Team that the event was a meaningful and

    instructive opportunity to engage with colleagues and supervisors on issues relevant to their day-

    to-day activities on the ships. The CAM Team’s own observations indicated that the

    Environmental Officer attendees were energized and engaged, actively sharing questions,

    concerns, best practices, and ideas for improvement. The course facilitators and shoreside


    48
      Stop work authority “in safety programs is intended to empower employees to intervene if and
    when they see situations that are unsafe or they see others engaged in unsafe behaviors.” See
    Stop Work Authority and the Bystander Effect, https://www.irmi.com/articles/expert-
    commentary/stop-work-authority-and-the-bystander-effect. The Company clarified at the
    November course that Environmental Officers have the authority to stop an operation that they
    know or suspect is non-compliant (however, they may not physically stop the operation
    themselves, but instead must immediately find somebody to stop it). The Company
    acknowledged that this authority is not currently explicit in its Global HESS procedures and
    pledged to work on incorporating it. See Event Notes; Cf. OHS-1001 Job Safety Review
    (Company procedure providing that, in the safety context, “[e]very crew member has the
    authority and duty to stop work that they deem to be unsafe”).
    49
       Also referred to as Exhaust Gas Cleaning Systems, these systems remove sulphur oxide
    compounds from a ship’s engine and boiler exhaust gases. See EPA, Exhaust Gas Scrubber
    Washwater Effluent (Nov. 2011), available at
    https://www3.epa.gov/npdes/pubs/vgp_exhaust_gas_scrubber.pdf. The Company’s Advanced
    Air Quality Systems use an open loop design, in which seawater drawn from the ocean is
    sprayed onto engine exhaust gases, causing a chemical reaction that removes sulphur oxide
    compounds from the exhaust. The seawater is then treated and discharged back to the ocean as
    washwater. See Event Notes; see also infra, Part III.H.2 (discussing issues related to the use of
    Advanced Air Quality Systems).


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    attendees were also engaged and responsive, convening multiple times each day to go over

    feedback and make real-time adjustments to the course. As a result, compared to the August

    course, the November iteration appeared to deliver more of the benefits of the prior

    Environmental Commitment Conferences. See CAM September 2019 Quarterly Report at 73

    (noting that “the hybrid training/conference format does not appear to deliver all of the value of

    the prior Environmental Commitment conferences” due to “limited” opportunities for

    Environmental Officers to directly provide feedback to shoreside personnel). The CAM

    commends the Environmental Corporate Compliance Manager team, CSMART faculty and

    leadership team, and other involved individuals for their significant, ongoing efforts to develop,

    deliver, and improve this course.

                   4.      Ongoing CAM Team Examination

           The CAM Team will continue to monitor and assess the Company’s environmental

    compliance training, including the Environmental Excellence and Operational Excellence

    CSMART courses. As part of this effort, the CAM Team plans to explore the potential role of

    CSMART in supporting culture change. One of the CAM’s findings of “progress regarding ECP

    objectives” in the first Annual Report was the Company’s use of its state-of-the-art CSMART

    facility to implement some environmental trainings. See CAM First Annual Report at 3-4, 21-

    23, Appendix B. The CAM has continued to report on how the Environmental Excellence and

    Operational Excellence courses have solicited thoughtful feedback on compliance issues and

    challenges from participants, including issues related to culture, financial pressure, support for

    the ships, and workload. See, e.g., CAM September 2019 Quarterly Report at 78-79. It still

    remains to be seen how effectively the Company, including its top leadership, will respond to

    this feedback. According to a participant feedback report from the Operational Excellence




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    course, “[w]hat is very clear from discussions with participants, course feedback and observation

    is that there is a genuine hope for measurable change based on what they have provided, but

    concern is slowly growing that the time they have been required to spend at the event is having

    no effect.” Operational Excellence: Participant Feedback Q2 2019 (July 31, 2019),

    PCL_ECP00132923-56, at PCL_ECP00132925. It is one thing for a culture of openness, trust,

    and speaking up to exist within the safe space of a training facility where employees may spend

    only a few days or weeks each year; it is another for such a culture to translate over to the

    Company’s ships and shoreside offices where employees spend the vast majority of their

    working time.

           The CAM Team also plans to examine additional training correlated to ECP Year Three

    areas of focus, including: (1) IT resources training; (2) investigations and root cause analysis

    training; (3) training for specific jobs or personnel (both officers and ratings); (4) training for the

    Company’s Global Talent Partner recruits; and (5) compliance training for corporate leadership,

    including the Boards of Directors. See CAM Third Annual Work Plan at 14.

           F.       Implementation of Enumerated ECP Requirements

                    1.     Background

           The CAM Team continues to monitor the Company’s implementation of enumerated

    ECP requirements. The majority of these requirements and associated deadlines took effect

    during ECP Years One and Two. See CAM First Annual Report at 13-14 and Appendix D

    (assessing the Company’s efforts to meet enumerated ECP Year One requirements); CAM

    September 2018 Quarterly Report at 15-16 (assessing the Company’s efforts to meet enumerated

    ECP Year Two requirements). For the current ECP quarter, the Company was required to

    conduct an incident trend analysis, as discussed in the following section.




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                     2.         ECP-Required Trend Analysis

                           i.      ECP Requirement

           The ECP requires the Company to complete and submit to the Interested Parties and the

    CAM by November 1, 2019:

           [A] trend analysis . . . of all Major Non-Conformities, significant Non-Conformities;
           recurring minor Non-Conformities and Observations; and identif[cation of] corrective
           actions taken or recommended . . . The analysis shall include an assessment of the
           contribution, if any, of the following factors to the identified issues:

                     a. Human factors
                     b. Procedural-implementation tools
                     c. Equipment performance and faults
                     d. Parts ordering processes
                     e. Oversight
                     f. Adequacy of the current pollution prevention equipment and an assessment of
                        available technology.

    ECP § III.F.4.

           On October 31, 2019, the Company submitted its ECP-required trend analysis. See

    Carnival Corporation & plc: Environmental Compliance Plan Trend Analysis and Corrective

    Actions Overview (Oct. 31, 2019) (“ECP Trend Analysis”).

                          ii.      DOJ Guidance

           The CAM Team’s review of the Company’s ECP Trend Analysis is guided by DOJ

    guidance on the evaluation of corporate compliance programs. According to DOJ, “[o]ne

    hallmark of an effective compliance program is its capacity to improve and evolve.” DOJ,

    Evaluation of Corporate Compliance Programs (Apr. 2019), available at

    https://www.justice.gov/criminal-fraud/page/file/937501/download (“DOJ Corporate

    Compliance Program Guidance”), at 14. Aspects of such a program may include “revisions to

    corporate compliance programs in light of lessons learned,” as well as “reasonable steps” to

    “ensure that the organization’s compliance and ethics program is followed, including monitoring



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    and auditing to detect criminal conduct” and “evaluate periodically the effectiveness of the

    organization’s program.” Id. (internal citations and quotations omitted). DOJ’s guidance

    highlights the importance of cultivating a “culture of compliance.” Id. at 15.

           Another hallmark of an effective compliance program identified by DOJ is “the extent to

    which a company is able to conduct a thoughtful root cause analysis of misconduct and timely

    and appropriately remediate to address the root causes.” Id. at 16. DOJ highlights the

    importance of several factors, including: root cause analysis (were any systemic issues

    identified?); prior weaknesses (what controls failed?); payment systems (how was the

    misconduct funded?); vendor management (if vendors were involved in the misconduct, what

    was the process for vendor selection, and did the vendor undergo that process?); prior indications

    (were there prior opportunities to detect this misconduct, such as audit reports?); remediation

    (what specific changes has the company made to reduce the risk that the same or similar issues

    will not occur in the future?); and accountability. See id. at 16-17.

           Viewed in light of this guidance, the value of a trend analysis is its potential to serve as a

    mechanism for reviewing historical data to identify potential risk areas, patterns of behavior or

    results (including possible systemic issues), and opportunities to continuously “improve and

    evolve” a compliance program.

                        iii.   CAM Team Review

           The Company’s ECP Trend Analysis contains four sections:

              Section 1 (Executive Summary): An Executive Summary that includes self-
               identified “highlights” from the first thirty months of the ECP; areas “highlighted for
               additional improvement;” and an overview of the findings discussed in Sections 2-4.
               See ECP Trend Analysis at 1-6;

              Section 2 (TPA Audit Findings): An analysis of findings from TPA audits of both
               ships and shoreside offices, “including patterns of findings by year, actions taken to




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               correct, and overall performance assessment and a discussion of areas requiring
               additional actions.” Id.;

              Section 3 (RAAS Audit Findings): An analysis of environmental findings from
               RAAS audits of ships but not shoreside offices, “including patterns of findings by
               year and an overall performance assessment.” Id. This section does not analyze
               corrective actions for RAAS audit findings; and

              Section 4 (Reported Environmental Non-Compliant Events): An analysis of
               “environmental non-compliant events reported by the fleet, including patterns of
               events by year, causation, corrective actions taken and open areas for improvement.”
               Id. “Environmental non-compliant events” are defined as “environmental regulatory
               violations as well as violations of Company policy, non-violation leading indicator
               event types and environmental near misses.” Id. at 5. “Leading indicator” event
               types are defined as “leaks and overflows into the ship’s bilges, pollution prevention
               equipment issues and Environmental Officer coverage gaps on board.” Id. at 30.50
               The report does not expressly state the source of the data for Section 4; however, the
               CAM understands that it is limited to Flash Report incidents, and does not include
               CAM-reported Major Non-Conformities or Environmental Open (Hotline) Reports.
               See Employee Interview Notes.

           As noted above, the report opens with an Executive Summary that offers “highlights”

    from the first thirty months of the ECP. See ECP Trend Analysis at 1-2. However, it is not clear

    if, or how many of, these reported achievements are tied to the trend analysis (e.g., those related

    to training, corporate ISO-14001 Environmental Management System certification, SeaEvent



    50
       The Company does not appear to classify pollution prevention equipment issues (not
    associated with an illegal discharge or emission) as regulatory violations. However, as discussed
    in prior CAM reports, DOJ has taken the position that inoperability of pollution prevention
    equipment listed on a ship’s certificates (e.g., International Oil Pollution Prevention certificate,
    International Air Pollution Prevention certificate, International Sewage Pollution Prevention
    certificate) may violate U.S. regulations and/or MARPOL. In March 2018 correspondence to the
    Company, DOJ observed that ships are required to carry certificates which “identify the
    equipment and procedures used to handle pollutants and their waste streams” and that the
    “inoperability of this equipment is unquestionably a very significant event” which “generally
    results in the detention of a ship. See 33 U.S.C. § 1904(e)(2) (stating the Secretary of Homeland
    Security ‘shall’ detain ships ‘whose condition or whose equipment’s condition does not
    substantially agree with the particulars of the certificate aboard.’); and MARPOL, Art. 5.” CAM
    April 2019 Quarterly Report at 11 (quoting Letter from DOJ, United States v. Princess (Case
    1:16-cr-20897) (Mar. 27, 2018), at 3) (emphasis is DOJ’s).



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    reporting system, risk mitigation, and corporate compliance culture). Likewise, the areas

    “highlighted for additional improvement” are not clearly tied to the trend analysis. See id. at 2.

           The Executive Summary also lists a number of points as evidence that “[t]he Company is

    moving in a positive direction.” Id. at 2. This approach may minimize the Company’s ongoing

    compliance challenges, rather than shine light on potential risk areas and areas for improvement.

    For instance, data points are presented in terms of relative percentages that may obscure issues

    that would be revealed by looking at raw totals or unpacking the data in a different way.51 In

    addition, the Executive Summary presents the TPA and RAAS audit finding data in terms of

    average findings per audit, rather than total findings.52 The report’s overall focus on average

    findings per audit could distract from lessons to be learned from examining trends in total

    findings.53


    51
       For example, the report notes that “today, 40% of all environmental reports received are not
    reports of noncompliance; rather, they are near miss reports.” Id. This data point reveals that the
    relative percentage of near miss reports, compared to incident reports, has increased. However,
    it does not reveal anything about actual trends in the incident or near miss report data. It also
    does not reveal anything about the size of the larger pie: while the relative percentage of
    incident reports may have shrunk compared to near miss reports, the number of incident reports
    may still have increased. Similarly, the report notes that “[e]rror rates are low relative to the
    scale of operations, and declining, e.g., the Company’s sewage compliance rate has improved
    from 99.97% in year 1 to 99.99% in year 2.” Id. Presenting the data in terms of error rates may
    distract from pursuing the lessons that can be learned from examining the data on the incidents
    that did occur (which, given the scale of the Company’s operations, could still be a significant
    number of incidents), including understanding any trends that may be driving those non-
    compliant events.
    52
      The CAM recognizes that the “average findings per audit” metric was used for year-over-year
    comparisons due to the different numbers of audits that occurred in ECP Years One and Two,
    and that data on total TPA audit findings are included in charts in Section 2. See id. at 11-24.
    Limited data on total RAAS audit findings (overall year totals only, not broken down by
    category) are included in a chart in Section 3. See id. at 25.
    53
      For example, there appear to be increases in total findings from ECP Year One to Two in
    several categories, including: portable pump “virtual lock” findings (actual 350% increase);
    unclear contractor environmental training requirements (actual 300% increase); waste



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           In Sections 2-4, it is evident that the Company used different methodologies and

    approaches for performing the trend analyses. In other words, the Company appears to have

    performed separate reviews of various data populations, rather than a holistic trend analysis

    across all data. The report does not describe many aspects of the Company’s overall

    methodology for performing these analyses. For instance, there are limited to no details on: the

    trend analysis personnel/team (including qualifications and experience); whether or how the

    trend analysis is being integrated into the Company’s compliance program; sources of certain

    data (e.g., reported environmental non-compliance events); methodologies and approaches to

    data analysis, including identification of reasons for variations in methodologies and approaches

    (such as why the RAAS audit finding analysis does not include findings from shoreside audits,54

    or why the TPA audit findings are mapped against the six factors identified in the ECP

    requirement, but the RAAS audit findings and reported non-compliant events are not);

    identification and treatment of outlier data; identification of root causes and corrective actions

    for negative trends, including evaluation of the effectiveness or practicality of corrective

    actions;55 or identification of how findings from the trend analysis will inform “efforts toward



    offload/bunkering documents not correct or complete (actual 500% increase); and error in system
    documentation (actual 400% increase). See id.
    54
      The language of the ECP requirement is not limited to ship findings, but instead refers to “all
    Major Non-Conformities, significant Non-Conformities; recurring minor Non-Conformities and
    Observations.” ECP § III.F.4 (emphasis added). Further, the RAAS audit finding analysis does
    not distinguish ship audit findings that are attributed to the ship from those that are attributed to
    shore. See CAM Second Annual Report at 108 (discussing concerns raised by shipboard
    employees that some RAAS ship audit findings are the result of action (or inaction) by a
    shoreside office beyond the ship’s control).
    55
      The identified root causes in the report largely appear to be proximate (i.e., direct or
    immediate) causes, rather than root causes. See, e.g., ECP Trend Analysis at 12-24 (identifying
    as root causes things such as: lack of attention to detail; ineffective policies and procedures;
    document control issues; lack of oversight; lack of knowledge/training; and multiple IT systems



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    embedding within the Company culture an inherent focus on compliance.” ECP Trend Analysis

    at 2; see also DOJ Corporate Compliance Program Guidance at 15.

           Overall, the Company’s approach to this trend analysis appears to have been aimed

    mostly at fulfilling ECP requirements. These requirements, including the six factors listed

    above, were established before the challenges facing the Company were made as clear as they

    are today. What remains to be seen is the Company’s ability to develop a robust trend analysis

    approach of its own, one that can support (but not replace) its efforts to address the culture

    deficiencies identified in the Environmental Compliance Culture Assessment.

           G.      Initiatives Beyond Enumerated ECP Requirements

           The Company continues to develop and implement initiatives that go beyond the

    enumerated ECP requirements. See CAM First Annual Report at 4, 19-21 and Appendix B;

    CAM Second Annual Report at 31-43; CAM September 2019 Quarterly Report at 82-86.

    Notable recent developments are summarized below.

                   1.      IT Systems and Tools

           The Company continues its efforts to leverage IT systems and tools in support of

    compliance. Throughout the period of probation, the CAM Team has observed that the

    Company’s maritime IT resources are inefficient, non-centralized (with different systems—or


    in use). This ties into the Company’s broader challenges with identifying true root causes, which
    the CAM, TPA, and the Company’s own consultants have repeatedly highlighted. See CAM
    September 2019 Quarterly Report at 52-53. In other areas, the report appears to side-step the
    identification of root causes by attributing incident trends to “increased [reporting]
    transparency.” See, e.g., ECP Trend Analysis at 31. For example, in discussing “Oil Regulatory
    Violations” in Section 4, the report states that the Company “believes that this increase in
    reported events is indicative of improved reporting transparency rather than an actual increase in
    the number of events.” Id. at 35. While this may be true, and while increased reporting
    transparency is a good thing, the report fails to attempt to identify the root causes of events such
    as “leaking hydraulic units,” “errors in properly preparing to paint the exterior of the ship,” and
    “equipment failures.” See id.


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    versions of systems—in use by different brands), and described by Company personnel as

    “antiquated.” See id. at 82.

           This lack of a modern, global vision for technology presents compliance challenges for

    the Company. Some of these challenges include: (1) fleetwide collection and assessment of

    critical environmental and compliance data; (2) reliability and quality of connectivity and

    bandwidth on the ships; (3) speed and ease of use of IT programs on the ships; and

    (4) integration and standardization of processes, including reporting, tracking, and analysis of

    incidents; reporting and tracking of shipboard trainings; and ordering and delivery of spare parts.

    See id.; TPA Second Annual Report at 22; Employee Interview Notes.

           The Company has recognized the need for more centralized, modern, and data-driven

    strategies. As a result, it has launched a number of initiatives, including:

              Connectivity Upgrades. Within the past year, the Company has consolidated its
               efforts to upgrade and increase its fleetwide bandwidth. See id. With these upgrades,
               the Company aims to increase its shipboard technological capacities and improve the
               reliability of its ship-to-shore communications, including data collection and transfer
               from shipboard sensors to shoreside personnel for analytics;

              Neptune. The Company is in the process of deploying modules of its Neptune
               platform across the brands, which should enhance its fleetwide data collection and
               analysis efforts. See Event Notes. Neptune is an internally-developed platform that
               utilizes individual modules (i.e., a part of a program that contains one or more
               individual functions) which are focused on onboard, real-time data analytics. Some
               of these modules can play a role in supporting environmental compliance. For
               example, Neptune Live provides a tool for enhanced situational awareness related to
               environmental requirements, such as generating real-time Advanced Air Quality
               System alerts when a ship is approaching an Emission Control Area or other
               regulated area. See id. In addition, the Company is deploying mobile instances of
               Neptune Live (i.e., Neptune that works in collaboration with a mobile device, like a
               phone or smart watch) so that shoreside management will be alerted via Neptune
               when, for example, a ship is approaching an Emission Control Area or when a ship
               runs an Advanced Air Quality System in a prohibited zone. See id.;

              Global HESS. The Company reports that it has “enhanced its audit management and
               tracking system within [Global HESS] to achieve improved and consistent
               identification of root cause.” October 2019 Probation Supervision Report,


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               Attachment 3, at 3. The includes implementing a new process “where root cause
               analysis of audit findings is directly supervised by the [Environmental Corporate
               Compliance Manager] and his team.” Id. In addition, developments are underway to
               introduce electronic forms and task checklists in Global HESS. See id. at 10-11. The
               CAM understands that these are intended to increase accountability and efficiency
               among shipboard personnel responsible for the tasks, as well as to make it easier to
               audit related requirements. See Employee Interview Notes. Although efforts to
               improve Global HESS are underway, the CAM Team has learned that there are
               concerns about the sufficiency of the resources dedicated to the maintenance and
               development of Global HESS. See id. For instance, there are only two technology
               professionals familiar with the Global HESS database architecture, and these two
               individuals support the database for the entire Company. See id.;

              SeaEvent. SeaEvent is the Company’s new centralized, corporate-wide incident and
               near miss reporting and case management system. See CAM Second Annual Report
               at 36. It “allows the data capture, management, analysis and reporting of Health,
               Environmental, Safety, Security, Technical and other operational events” related to
               the Company’s ships. See SeaEvent Overview (Nov. 12, 2019), PCL_ECP00143497-
               516 (“SeaEvent Overview Presentation”), at PCL_ECP00143499. The Company
               reports that rollout of SeaEvent to all ships across the its brands was completed in
               November 2019. See Company Comments on Draft CAM December 2019 Quarterly
               Report.

                   The Company believes that SeaEvent will improve the consistency of its incident
               and near miss reporting, and enable better fleetwide information-sharing and tracking,
               trending, and analysis of incident and near miss data.56 With SeaEvent, shipboard
               personnel with responsibility to author incident reports (e.g., Environmental and
               Security Officers) can report an incident electronically, rather than manually entering
               information in a spreadsheet or report, which was the Company’s previous process.
               Once an author submits a report in SeaEvent, the platform sends a notification to
               shipboard leadership (e.g., the Staff Captain) who is then prompted to review the
               report and either send it back to the author for revision or approve the report as
               authored. Once shipboard leadership approves the report, it is then sent via SeaEvent
               to shoreside management, where it is similarly reviewed. Once shoreside
               management approves the report, it is registered in the SeaEvent system. See
               Demonstration Notes; SeaEvent Overview Presentation at PCL_ECP00143503-04.

                   The SeaEvent user interface is template-driven, with a series of required inputs
               and fields (usually with a discrete menu of options, known as “libraries,” from which
               the user can select) that vary based on the event or incident type. There are limited
               options for narrative or free-text responses, which is intended to promote consistency

    56
       On July 2, 2019, and August 22, 2019, the CAM Team received instructional demonstrations
    from the Company via WebEx of the SeaEvent software. The CAM Team has been granted
    access to the system and plans to monitor and report on the system’s functionality and
    effectiveness during its implementation.


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               across reports and enable better data analysis. The platform includes inputs for root
               cause analysis, corrective actions, and preventive actions. See Demonstration Notes.
               Critically, these functions will need to be aligned with the investigation procedures
               and processes, including root cause analysis methodology, that are being developed
               by the Incident Analysis Group. Feedback to the CAM Team from shipboard
               personnel responsible for entering incident reports has been generally positive, with
               individuals stating that the system is user-friendly and makes incident reporting
               easier. See Employee Interview Notes;

              GLADIS. GLADIS is a single learning management system to deploy and track
               training, including environmental training. See CAM Second Annual Report at 83.
               The system harmonizes the Company’s computer-based training across all brands.
               All vessels have GLADIS onboard, and the operating lines are in various stages of
               deploying it to crew members. See Carnival Corp., MPD CAM ECP Request
               Feedback (July 12, 2019), at 3.

                  In addition, the Company has created related IT training tools that connect with
               GLADIS to make the onboarding experience more universal, training more
               accessible, and instructor-led course training easier to track. These include:

                  o CrewTube. CrewTube is an application for smart phones and tablets that
                    allows crew members to access HESS information and complete some HESS
                    trainings before joining a ship. See July 2019 Probation Supervision Report,
                    Attachment 3, at 10. According to the Company, its Global Talent Partners
                    “promote and encourage use of CrewTube.” Id.57

                  o Drill App. The Company is developing an offline, tablet-based application to
                    “assess training and drills, using a competency based assessment approach for
                    either individuals or teams.” July 2019 Probation Supervision Report,
                    Attachment 3, at 10, at 13; Carnival Corp., MPD CAM ECP Request
                    Feedback (July 12, 2019), at 4; and

                  o Instructor Led Training Attendance App. The Company is developing an
                    offline scanning application that will be able to scan crew member IDs to
                    assist in recording attendance at shipboard trainings. See July 2019 Probation
                    Supervision Report, Attachment 3, at 13. The app “will be interfaced with

    57
       The CAM Team has learned of concerns related to whether the use of CrewTube for required
    training may conflict with obligations to compensate employees for time spent on such training.
    For instance, the Maritime Labour Convention 2006, known as the “seafarers’ bill of rights,” sets
    standards for, among other things, wages and overtime payments. See Maritime Labour
    Convention, 2006, as amended, Tit. 2, Reg. 2.2 (2019), available at
    https://www.ilo.org/wcmsp5/groups/public/---ed_norm/---
    normes/documents/normativeinstrument/wcms_554767.pdf. Specific requirements are governed
    by national laws or union agreements. See id.



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                       GLADIS to automatically update a crew member’s training file.” Id. The
                       recordkeeping burden associated with having to manually record and track
                       shipboard training attendance has been a frequent complaint to the CAM
                       Team—especially from Environmental Officers. See Employee Interview
                       Notes. If successfully implemented, this app could reduce the administrative
                       workload of Environmental Officers and other officers who deliver shipboard
                       trainings;58

              Marine Asset Strategies Transformation (“MAST”). Under the MAST initiative,
               the Company expects to develop a single planned maintenance and spare parts
               management system (with consolidated cross-brand inventory indices). The
               Company believes that the new system will improve its ability to efficiently deliver
               spare parts to ships, including those that are needed to keep shipboard pollution
               prevention equipment in working order. See CAM Second Annual Report at 83. Its
               functionality would include allowing the Company to monitor the location and status
               of its spare parts inventory across the entire fleet. See id.; MAST Update (Nov. 13,
               2018), PCL_ECP00083937-40; October 2019 Probation Supervision Report,
               Attachment 3, at 11. To support this function, the Company is exploring the
               deployment of mobile devices to assist shipboard engineers in addressing the
               availability, reliability, and maintainability of pollution prevention equipment. See
               Employee Interview Notes; and

              Voyage Planning Software. The Company has executed a contract with a vendor to
               develop new software that could help address voyage planning challenges, which
               often are described as resulting from misunderstandings or miscommunications as to
               the location of environmental boundary lines and/or the applicable requirements
               within a set of environmental boundary lines. See CAM Second Annual Report at 37-
               39; July 2019 Probation Supervision Report, Attachment 3, at 11. The new software
               would, among other things, aim to integrate information about environmental
               boundaries and standards—including the Company’s own requirements, which may
               be more stringent than those set by regulatory bodies—into the electronic
               navigational charts used by ships. See CAM Second Annual Report at 37. This
               would replace the otherwise cumbersome “WorldWide Cruising Standards
               spreadsheet [i.e., the Matrix] approach with a chart-based solution.” July 2019
               Probation Supervision Report, Attachment 3, at 11. In July 2019, the Company
               reported that “it is expected that up to six months of software development time and
               2-3 months of testing time will be needed before a decision to adopt and deploy the
               solution will be taken.” Id. More recently, in November 2019, it was stated that a
               software solution is expected to be developed by February/April 2020. If the

    58
      As discussed in the CAM First Annual Report, two Environmental Officers were found to
    have falsified training records in ECP Year One. See CAM First Annual Report at 40-41, 47-48.
    Both individuals were terminated. See id. Although the Company does not appear to have
    investigated the role that workload may have played in these incidents, it has been reported to the
    CAM Team by crew members across the Company that high workloads, along with fear of
    speaking up, likely contributed to both incidents. See Employee Interview Notes.


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               Company determines that this software meets its needs, the technology will be
               adopted and deployed. See Event Notes.

           The CAM Team will continue to monitor the development and implementation of these

    initiatives, as well as the Company’s general efforts to improve its overall IT architecture. This

    will include monitoring the status of IT-related initiatives in the Company’s Ethics and

    Compliance Program Strategic Plan, including efforts to: “[f]orm a cross-brand and cross-

    functional ‘IT Compliance Committee’ and ‘tech teams’ (similar to the ‘tiger teams’ on the food

    waste initiative);” “[c]onduct a sample of ship visits to identify, catalogue and prioritize current

    IT problems, limitations or deficiencies that inhibit effective compliance behaviors, practices or

    functions;” and “[r]eview data sources and platforms for analyzing information, including both

    structured and unstructured sources, with the objective of facilitating three dimensional

    understanding of operational challenges and identifying opportunities for improvement in

    processes, systems or training & communication as they relate to compliance.” See Corporate

    Compliance Manager’s Quarterly Environmental Compliance Report Q3 2019,

    PCL_ECP001447152-273, at PCL_ECP001447167, 71, 74; October 2019 Final Strategic Plan at

    24-25. The CAM Team also intends to explore the incorporation of IT-related expenditures into

    the Company’s financial and strategic planning processes.

           As part of its ongoing monitoring efforts, during ECP Year Three the CAM Team has

    visited shoreside offices for the All Brands Group and each of the Company’s four operating

    lines (Carnival Cruise Line, Carnival UK, Costa Group, and Holland America Group) to

    interview key personnel and learn more about overall brand IT strategies, the roll out of

    corporate initiatives, and areas that may require improvements. In addition, the CAM Team

    attended the Data Management Working Group session of the Company’s Corporate Technical

    Days event held in Southampton, UK, from September 23-27, 2019. The event consisted of a


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    series of meetings and workshops for the Company’s technical working groups, with sessions

    covering topics such as data management, waste management, and emerging technologies. See

    Carnival Technical Days Overview.

           Finally, the CAM Team attended the Company’s Global Maritime & IT Leadership

    Forum (the “Forum”) in Hamburg, Germany, from October 7-11, 2019. The Forum brought

    together IT and business leaders from across the Company to discuss various IT-related topics,

    including the Company’s global IT strategy, current initiatives and updated roadmaps,

    opportunities for collaboration and synergy, and innovation. A central topic throughout the

    Forum was the need for the Company to move beyond brand-specific strategies—i.e., the current

    siloed process—in favor of more global or cross-brand alignment. See Event Notes.

           The Forum provided an opportunity for the Company’s new Chief Information Officer to

    frame his global strategy and solicit input from cross-brand team members. The CAM Team

    observed, however, that not every brand favors this global approach, preferring brand-specific

    strategies and initiatives, which are sometimes at odds or incompatible with other cross-brand

    efforts. See id. Another topic of discussion was strategic budgeting and operational needs

    related to both: (1) existing maritime initiatives, such as MAST; and (2) the development or

    deployment of new, innovative technologies to support compliance, such as technologies (like

    edge computing59 and data virtualization60) designed to make data more widely available to

    ships, as well as to make it easier to analyze data across brands. See Event Notes.


    59
       Edge computing is the practice of processing data where it is generated (e.g., by the device
    itself or a local computer or server), rather than transmitting it to a data center (e.g., a cloud-
    based program) to be processed. See What is Edge Computing?,
    https://www.hpe.com/us/en/what-is/edge-computing.html.
    60
      Data virtualization is “an approach to data management that allows an application to retrieve
    and manipulate data without requiring technical details about the data, such as how the data is



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                   2.     Fleet Environmental Officer Program

           The Company continues to work on developing a “fleet environmental compliance trainer

    officer program” designed to “provide training, coaching, and mentoring to environmental

    officers as well as environmental training to employees of the Deck, Technical, and Hotel

    departments.” See CAM Second Annual Report at 39-40; October 2019 Probation Supervision

    Report, Attachment 3, at 6. The Company reports that recruitment of a Director-level employee

    for this program has commenced. See id.; Job Description – DIRECTOR, Fleet Environmental

    Compliance Training Program (Sept. 12, 2019). The Director will be tasked to “develop,

    implement and manage an Environmental Compliance training program that is designed to

    promote a culture of compliance and learning.” Id. The position’s functions will include

    “[e]stablish[ing] and direct[ing] a team of approximately ten Fleet Environmental Compliance

    Officers who perform training that includes:

              Environmental compliance training for Environmental Officers onboard their
               assigned ships.

              Special environmental compliance training for Deck, Technical and Hotel employees
               onboard their assigned ships.

              Special environmental compliance training and/or facilitation of training at the
               company’s CSMART training academy and shore-side centers of excellence.”

    Id.

           If successfully implemented and supported, a Fleet Environmental Officer program could

    help address the ECP obligation to have a sufficient number of Environmental Officers to meet

    fleet needs, see ECP § IV.A.1, and provide the advantage of having a group of Fleet




    formatted or where it is physically located. The goal of data virtualization is to create a single
    representation of data from multiple, disparate sources without having to copy or move the data.”
    See https://searchdatamanagement.techtarget.com/definition/data-virtualization.


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    Environmental Officers who could provide support, consistency, and oversight to the more than

    two hundred Environmental Officers across the Company. The program could also provide

    additional career opportunities for individuals in the unique Environmental Officer role. See

    CAM December 2018 Quarterly Report at 19-21 (discussing concerns about the Environmental

    Officer position, including lack of a clear career path). The CAM Team will continue to monitor

    the development and implementation of this program.

                   3.      Electronic Key Management System Installations

           As part of its efforts to improve the implementation of the Environmental Control System

    program (i.e., the use of seals, locks, and welds to control vulnerable points on ships that could

    lead to prohibited discharges, as required under ECP § IX.B), the Company committed at least as

    early as February 2019 to install electronic key management systems on its ships to “control keys

    that provide access to portable pumps and their designated hoses.” See ENV-1203 Minimization

    and Control of the Use of Portable Pumps and Their Designated Hoses (“ENV-1203”); see also

    Maritime Operations Monthly Dashboard February 2019 (Mar. 6, 2019), PCL_ECP00117220-

    62, at PCL_ECP00117234 (noting a December 31, 2019, deadline for the installations). These

    systems “automatically send an e-mail to the [Environmental Officer], Chief Engineer, and Staff

    Chief Engineer every time a key that provides access to a portable pump and its designated hoses

    is taken or returned.” ENV-1203. Crew members from across the Company have reported to the

    CAM Team that they are eager for the installation these systems, which could reduce the time,

    labor, and potential for human error associated with Environmental Control System

    requirements. See Employee Interview Notes.

           Around April 2019, the Company postponed the deadline for installing these systems on

    the ships from December 31, 2019, to September 1, 2020. See ENV-1203, April amendment




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    (Apr. 25, 2019). The CAM asked the Company for “[i]nformation related to the change in date

    for completion” of the installations. Court Appointed Monitor Communication – Thirteenth

    Request for Documents and Information (Aug. 30, 2019), at 3. On September 20, 2019, the

    Company responded that “[t]he decision to phase in [the electronic key management systems]

    over a longer period of time was based on competing priorities (i.e. focusing on completing the

    Vulnerability Assessment) and the availability of managers and implementers within the brands

    given the project requires IT support to hook the boxes up to the Wi-Fi, servers, e-mails, etc.”

    See U.S. v. Princess Cruise Lines. Ltd. — 1:16-cr-20897: Production of Information Related to

    [Electronic Key Management] System Installation (Sept. 20, 2019). The CAM Team will

    continue to monitor the implementation of this initiative.

                   4.      Other Initiatives

           The Company has instituted a number of other initiatives related to environmental

    compliance and sustainability, ranging from policies, programs, surveys, IT projects, studies,

    trainings, and other efforts. See CAM Second Annual Report at 31-43 and Appendix A. The

    CAM Team will continue to monitor the Company’s initiatives, including examining whether the

    number of disparate initiatives are: well-coordinated; based on accurate understandings of the

    root causes of the issue(s) they are designed to address; and developed with sufficient

    consideration of the additional strain or workload they may put on the ships, including whether

    and how management of change principles are implemented when new actions are taken, as

    flagged in the Court’s Order of October 31, 2019. See Dkt. No. 167.

           For example, shipboard employees from across the Company have reported concerns to

    the CAM Team regarding the additional workload and logistical demands associated with two

    recent initiatives: (1) the “Yellow Plus” and “Yellow with Operations Director” procedures,




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    which require additional senior-level engineering officers to be present in the Engine Control

    Room for certain operations that carry a risk of non-compliant discharges; and (2) a prohibition

    on discharges of a range of liquid waste streams (i.e., processed bilge water, treated sewage, grey

    water, food waste, recreational water facility water, and super-chlorinated water from the potable

    water tank disinfection) inside twelve nautical miles “where operationally feasible.” See October

    2019 Probation Supervision Report, Attachment 3, at 3; see also Employee Interview Notes.

    These initiatives are well-intentioned, with the stated aim of reducing the risk of non-compliant

    discharges. See October 2019 Probation Supervision Report, Attachment 3, at 3. However, it

    does not appear that the Company’s senior management evaluated at the outset what new

    challenges or trade-offs might result, in light of existing staffing levels and workloads on the

    ships. Instead, the approach appears at odds with management of change principles: first, issue

    the directives; then, wait for the ships to struggle and ask for help, such as additional crew

    members or an exception from the requirement; and, finally, only at that point, considering

    taking steps to provide ships with the additional resources necessary to carry out the directives.

           H.      Environmental and ECP Violations

                   1.      Overview

           As in ECP Years One and Two, the Company continues to violate environmental laws

    and the ECP, even while efforts aimed at compliance are underway. As emphasized in prior

    CAM reports, while these incidents are concerning, the Company’s deeper and more pressing

    barriers to compliance relate not to individual incidents on ships, but to the Company’s broader

    corporate leadership and culture issues. See CAM Second Annual Report at 94.

           The Company’s violations of environmental laws and/or the ECP during the second

    quarter of ECP Year Three (July 19, 2019 – October 18, 2019) included incidents related to:




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              Air emissions, including leaks of ozone-depleting substances from refrigerant gas
               systems; and emission violations associated with the use of (or failure to use)
               Advanced Air Quality Systems;

              Discharges to the sea, including discharges of: Advanced Air Quality System
               washwater, ballast water, black water (sewage), chemicals, food waste, grey water,
               oil, recreational (e.g., pool/Jacuzzi) water, and solid items/garbage (including
               plastics);

              Pollution prevention equipment maintenance and operation, including incidents
               where Advanced Air Quality System components, ballast water treatment system
               components, food waste system components, incinerators, Oily Water Separators,
               sewage treatment system components, and White Boxes have been out of service for
               more than a day; and

              Recordkeeping, including at least one new incident of alleged training record
               falsification,61 in addition to the training record falsification incidents discussed in the
               most recent CAM report. See CAM September 2019 Quarterly Report at 90-92.
               Other recordkeeping incidents include: the modification of Daily Sounding Logs
               with “randomly adjusted quantities;”62 missing Daily Sounding Logs;63 missing
               Hazardous Waste Generation/Transfer Logs;64 and various errors and discrepancies in


    61
       A shipboard manager on the Seabourn Odyssey is alleged to have asked a newly joined crew
    member to sign a training sheet for Workplace Specific Environmental Training before the
    training was conducted. The Incident Analysis Group is investigating. See Carnival Corp.
    Special Condition 13(a) Report (Sept. 26, 2019); Carnival Corp. HESS Weekly Flash Report
    (Oct. 2, 2019).
    62
       A Daily Sounding Log is a paper log used to record tank quantities/volumes, including for “all
    sludge and bilge tanks associated with bilge water and/or oil residues (sludges).” ENV-1201-A1
    Daily Sounding Log. In response to being told of apparent errors in his Daily Sounding Logs, an
    engineer on the Carnival Pride is reported to have “(without asking/discussing with anyone)
    created new logs for eight days with randomly adjusted quantities, placed them in the binder and
    removed the original logs.” Carnival Corp. HESS Weekly Flash Report (Oct. 7, 2019); Carnival
    Corp. Special Condition 13(a) Report (Oct. 16, 2019). The Incident Analysis Group is
    investigating.
    63
      The Daily Sounding Log and the Draft Daily Sounding Log were found to be missing from the
    Engine Control Room on the Carnival Sunshine on October 14, 2019, which “allegedly occurred
    during a mix up” while shelves were being cleaned. Carnival Corp. HESS Weekly Flash Report
    (Oct. 23, 2019); Carnival Corp. Special Condition 13(a) Report (Oct. 16, 2019).
    64
      A range of Hazardous Waste Generation/Transfer Logs were found to be missing on the
    Carnival Sunrise on August 24, 2019, and “it was concluded that the completed logs . . . were
    not submitted to the Staff Captain or deck office for filing and were disposed of during painting
    of the Recycling Center by contractors during dry dock in April 2019.” Carnival Corp. HESS



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               log books and records, including Oil Record Books, Oil to Sea Interface Logs,
               Garbage Record Books, and Biofouling Record Books. Further, the CAM remains
               concerned about the findings, discussed in the most recent CAM report, of apparent
               falsifications of Planned Maintenance System records over a period of several years
               on at least two Princess ships. See CAM September 2019 Quarterly Report at 90. In
               conjunction with a similar incident on a Holland America Line ship in ECP Year
               Two, these incidents indicate that the Company may have a systemic problem with
               the completeness and integrity of Planned Maintenance System records across
               multiple ships. See id.65

    See September 25, 2019 Quarterly Issue Tracker (Sept. 25, 2019), Dkt. No. 162-1; Carnival

    Corp. Special Condition 13(a) Reports; Carnival Corp. HESS Weekly Flash Reports. Other

    incidents tracked by the CAM Team, which do not typically involve violations of environmental

    laws or the ECP, include bilge leaks/overflows; emissions of non-ozone-depleting refrigerant

    gases; Environmental Control System program issues, such as broken or missing seals with no

    evidence of intentional tampering; and near misses.

           These incidents are reported to the CAM Team through formal and informal reporting

    mechanisms, including: audit findings (both internal and external); CAM Team visit findings;

    Flash Reports; Environmental Open (Hotline) Reports; Special Condition 13 Reports required

    under the Probation Agreement; notices to the Office of Probation; and other notifications. See

    Third Annual Work Plan at 7. The CAM Team continues to track and assess issues associated

    with these violations, including issues related to: shoreside support, such as concerns related to

    workload/staffing, IT systems, waste vendors, spare parts, training, or policies and procedures;



    Weekly Flash Report (Sept. 4, 2019); Carnival Corp. Special Condition 13(a) Report (Aug. 26,
    2019).
    65
      This issue may not be limited to Holland America Group ships. A recent internal audit of the
    Carnival Pride found that two monthly bilge water tank inspections “could not be performed
    because the tanks were full but the [Planned Maintenance System] job was closed without being
    postponed.” Carnival Corp. HESS Weekly Flash Report (Nov. 20, 2019). The Company
    reported that “Company procedure was not followed for [Planned Maintenance System] job
    closing/postponing[.]” Id.


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    and workplace/culture, such as concerns related to blame culture, retaliation, discrimination,

    harassment or bullying, or unsafe working conditions. The CAM also reports to the Interested

    Parties as required by the ECP. See ECP §§ III.D.6, VI.F.6.

             As discussed in prior CAM reports, the CAM Team tracks and analyzes incident report

    data, but no longer compiles this data in CAM reports. As the Company itself has noted,

    apparent trends in the data may reflect trends in rates of reporting, which can be a positive

    development, rather than trends in actual incident occurrences. See CAM September 2019

    Quarterly Report at 95-96. Further, as the Court has observed, focusing on individual incidents

    on ships can distract from the most pressing barriers to compliance, which are the Company’s

    broader corporate leadership and culture issues. See, e.g., Status Conference Tr. at 5-6 (Apr. 10,

    2019).

             [Text continues on following page.]




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                  2.     Advanced Air Quality Systems

           As noted above, the Company experienced multiple incidents related to its Advanced Air

    Quality Systems during the second quarter of ECP Year Three, including emission

    exceedances,66 prohibited washwater discharges,67 and equipment failures or malfunctions.

           The CAM intends to further examine issues related to Advanced Air Quality Systems

    throughout the remainder of ECP Year Three and beyond. This will become an increasingly




    66
       These included: burning heavy fuel oil for one hour and forty-two minutes in Spanish waters
    in violation of a European Union Directive by the P&O UK Arcadia on August 22, 2019;
    burning heavy fuel oil for approximately three hours in the North American Emission Control
    Area in violation of MARPOL Annex VI by the Carnival Dream on August 23, 2019;
    exceedance of emission ratio limits due to a drop in seawater flow in the Advanced Air Quality
    System for approximately 3.5 hours while underway toward Seattle, Washington, in violation of
    MARPOL Annex VI by the Star Princess on August 25, 2019; burning heavy fuel oil for thirty-
    three minutes while underway toward Glacier Bay, Alaska, in violation of MARPOL Annex VI
    by the Holland America Line Noordam on August 26, 2019; exceedance of emission ratio limits
    for one hour and forty-eight minutes due to a reduced flow rate in the Advanced Air Quality
    System while underway toward New York in violation of MARPOL Annex VI by the Caribbean
    Princess on September 3, 2019; burning approximately 2.8 metric tonnes of heavy fuel oil in the
    North American Emission Control Area by the Carnival Freedom on September 13, 2019;
    burning heavy fuel oil for one hour and two minutes following a blackout in Vancouver, Canada,
    in violation of MARPOL Annex VI by the Holland America Line Westerdam on September 22,
    2019; exceedance of emission ratio limits for one hour and forty minutes due to high load in
    Galveston, Texas, in violation of MARPOL Annex VI by the Carnival Freedom on September
    29, 2019; burning heavy fuel oil for approximately one hour and forty-five minutes in route to
    Stockholm, Sweden, in violation of MARPOL Annex VI by the Pacific Princess on October 1,
    2019; burning heavy fuel oil for approximately two hours in the North American Emission
    Control Area in violation of MARPOL Annex VI by the Carnival Fantasy on October 5, 2019;
    and burning heavy fuel oil for approximately five hours and fifteen minutes in the North
    American Emission Control Area in violation of MARPOL Annex VI by the Carnival Freedom
    on October 6, 2019. See Carnival Corp. Special Condition 13(a) Reports; Carnival Corp. HESS
    Weekly Flash Reports.
    67
       These included the discharge of washwater with an overboard pH of less than six in violation
    of the U.S. Environmental Protection Agency Vessel General Permit by: the Caribbean Princess
    for approximately seven hours in Charleston, South Carolina, on July 29, 2019; and the Holland
    America Line Zuiderdam for approximately two hours and twenty minutes in Newport, Rhode
    Island, on September 28, 2019. See Carnival Corp. Special Condition 13(a) Reports; Carnival
    Corp. HESS Weekly Flash Reports.


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    important area of focus as the global marine fuel sulfur cap set by the Marine Environment

    Protection Committee of the International Maritime Organization goes into effect beginning

    January 1, 2020. Under this new limit, ships outside of Emission Control Areas “will have to use

    marine fuels with a sulfur content of no more than 0.50% (the current limit is 3.5%) unless using

    approved equivalent methods under regulation 4.1 of MARPOL Annex VI,” which include the

    use of an approved Advanced Air Quality System. American Bureau of Shipping, Marine Fuel

    Advisory 2018 (2018), at 3. Ships inside of Emission Control Areas must continue to use marine

    fuels with a sulfur content of no more than 0.1% or approved equivalent methods such as an

    approved Advanced Air Quality System. See Environmental Compliance Notice #5-2019. Ships

    without an approved Advanced Air Quality System must not use fuel exceeding the applicable

    sulfur limit. See id.

           To “help ships prepare for the 2020 Sulphur Cap,” the Company issued an Instructional

    Notice in late August 2019 requiring each ship to develop, implement, and maintain, by

    November 30, 2019, a Ship Implementation Plan (“SIP”). Id. The SIP must outline “how the

    ship will prepare to comply with the new sulphur requirements,” and “should address at a

    minimum, risk assessments of new fuels, fuel oil system modifications and alternative means of

    compliance. Each ship will work with their shoreside technical department to develop a ship-

    specific SIP.” Id.; IN ENV-09-2019 Ship Implementation Plan (SIP) Requirement to Prepare for

    the 2020 0.50% Global Sulphur Cap (“IN ENV-09-2019”). According to the Company, Port

    State Control68 “will review the preparatory actions described in the ship-specific SIP when


    68
       Port State Control is “the inspection of foreign ships in national ports to verify that the
    condition of the ship and its equipment comply with the requirements of international regulations
    and that the ship is manned and operated in compliance with these rules.” International Maritime
    Organization, Port State Control,
    http://www.imo.org/en/OurWork/MSAS/Pages/PortStateControl.aspx.


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    verifying compliance with sulphur limit requirements.” IN ENV-09-2019. As part of its

    ongoing examination of issues related to Advanced Air Quality Systems, the CAM Team plans

    to review the development, implementation, and maintenance of SIPs.

           I.      Other Ongoing CAM Areas of Focus

           In addition to the issues discussed in this Report, the CAM continues to examine the

    following areas of interest and intends to report on these issues in future reports:

               Personnel. This includes issues related to the Company’s efforts regarding:

                   o Relationships with its Global Talent Partners, including specific Global Talent
                     Partner operations and the Company’s stated intent to “seize on” the “unique
                     opportunities that the Company has to leverage its strong relationship with its
                     Global Talent Partners,” including “the opportunity to develop a more diverse
                     corps of shipboard officers who would help to promote and enhance
                     environmental compliance,” see Status Report by Princess Cruise Lines, Ltd.,
                     Dkt. No. 148, at 6-7, as well as other efforts to support the Company’s stated
                     priority of “[b]uilding a diverse and inclusive workforce.” See Sustainability
                     from Ship to Shore: FY2018 Sustainability Report, at 7, available at
                     https://carnivalsustainability.com/; and

                   o Hiring, training (including development of competency frameworks),
                     workload, and employment conditions of officer and non-officer crew,
                     including Environmental Officers, engineering officers, and ratings. See
                     Third Annual Work Plan at 15.

               Support for Operations and Compliance. This includes issues related to the
                Company’s efforts regarding:

                   o Shoreside support for ships, including the extent to which shoreside has
                     adequate resources to provide the support needed by the ships;

                   o Processes for selecting and vetting shoreside waste vendors;

                   o Environmental support and special project ship visits under the HMP-1503
                     procedure implemented in January 2019 and amended in June 2019;

                   o The integration of HESS compliance into the annual financial and strategic
                     planning processes;




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                 o Improvements to HESS policies and procedures, including the “internal effort
                   to improve upon the clarity and understandability of current [Environmental
                   Management System] related procedures.” October 2019 Probation
                   Supervision Report, Attachment 3, at 4; and

                 o Implementation of the new Unified Regulatory Reporting Policy required
                   under the Probation Agreement, which went into effect on September 19,
                   2019, including any associated training.

             Company Response to Internal and External Findings. This includes the
              Company’s response to findings from the CAM, TPA, RAAS, outside consultants,
              and other internal and external studies and assessments, such as the DNV GL
              investigations review; the Environmental Compliance Culture Assessment; the ECP-
              mandated Fleet Engineering Survey; the human factors study and workload analysis
              commissioned by Holland America Group; and the participant feedback surveys and
              reports from the Operational Excellence CSMART training course. See CAM Second
              Annual Report at 111-12; CAM September 2019 Quarterly Report at 15-30, 97;
              October 2019 Probation Supervision Report, Attachment 3, at 11-12.

                                                    Respectfully Submitted,




                                                    STEVEN P. SOLOW
                                                    Court Appointed Monitor

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                               APPENDIX A: STATUS OF PROBATION AGREEMENT COMMITMENTS

   Deadline                                    Obligation                                                 Status

Immediately       Search Firm for New Board Member. The Company will                     Search firm retained in July 2019;
                  immediately engage a search firm to assist the Boards of Directors     recruitment process ongoing
                  to recruit a new board member with significant corporate
                  compliance experience.

06/01/2019        Consultant Recommendations. The Company shall provide the              Submitted June 1, 2019
                  Court, CAM, TPA and Interested Parties with the consultant’s
                  further recommendations.

06/2019-          Tiger Teams. The Company’s tiger teams intend to meet in               Met June 3-6, 2019; visited 30 ships
08/2019           Washington D.C. on June 3-7, 2019 for planning workshops in            between June-August 2019
                  which most of the inner workings and plans will be finalized. The
                  tiger teams will be dedicated to visiting at least 30 ships between
                  June and August.

06/10/2019        Financial Penalty. The Company agrees to pay an additional             The Company reports that this was paid
                  financial penalty of $20 million.                                      on schedule. See Status Conf. Tr. at 16
                                                                                         (July 19, 2019).

06/30/2019        Special Condition 13(a) Reporting Process. The Company shall           Submitted June 28, 2019
                  submit for approval to the Interested Parties a proposed process,
                  including the criteria for determining which incidents to report and
                  how they will be reported in compliance with Special Condition of
                  Probation 13(a).

07/01/2019        Interim Progress Report. The Company will provide an interim           Submitted July 1, 2019
                  report on its progress toward completing a proposed action plan to
                  restructure its existing corporate compliance governing authority.




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07/03/2019        Management Acceptance of Responsibility Statement. The                Issued July 1, 2019
                  Company will issue a statement to all employees in which the CEO
                  of Carnival Corporation & plc (and other senior management if they
                  so choose) personally accepts management responsibility for the
                  probation violations.

08/01/2019        Interim Progress Report. The Company shall provide a second           Submitted August 1, 2019
                  interim report on its progress toward completing a proposed action
                  plan to restructure its existing corporate compliance governing
                  authority.

08/01/2019        Food Waste Management Implementation Plan (Part One). The             Submitted August 1, 2019; Update
                  Company will provide to the Interested Parties, TPA, and CAM an       submitted September 4, 2019
                  implementation plan specifying the project, the project owner, and
                  specific timetables for Part one – improved training, supervision,
                  staffing, and culture – of its Three Part Program addressing food
                  waste.

08/02/2019        Draft Unified Regulatory Reporting Policy. The Company will           Submitted July 31, 2019
                  submit for review and comment to the Interested Parties, CAM and
                  TPA a draft new policy in the Company’s Environmental
                  Management System that will govern the reporting requirements for
                  discharges according to United States federal and state laws.

08/14/2019        Proposed Action Plan on Corporate Re-Structuring. The                 Submitted August 14, 2019
                  Company shall provide the Court, CAM, TPA and Interested Parties
                  with the Company’s proposed action plan to restructure its existing
                  corporate compliance governing authority.

08/23/2019        Comments on Draft Unified Regulatory Reporting Policy. The            Joint CAM/TPA comments submitted
                  Interested Parties, CAM, and TPA will provide comments to the         August 23, 2019
                  Company, if any, on the Company’s draft new policy in the


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                  Company’s Environmental Management System that will govern the
                  reporting requirements for discharges according to United States
                  federal and state laws.

08/28/2019        Comments on Proposed Action Plan on Corporate Re-                       Joint CAM/TPA comments submitted
                  Structuring. The Interested Parties, CAM and TPA will provide           August 28, 2019
                  any comments or suggestions to the Company about the Company’s
                  proposed action plan to restructure its existing corporate compliance
                  governing authority.

09/13/2019        Final Action Plan on Corporate Re-Structuring. The Company              Submitted September 13, 2019; update
                  will provide a final version of its action plan to restructure its      submitted October 9, 2019; supplements
                  existing corporate compliance governing authority to the Court.         submitted November 1, 2019 (preliminary
                                                                                          financial plan) and December 10, 2019
                                                                                          (final financial plan)

09/13/2019        [Sanctions.] If the Company fails to submit an action plan to           --
                  restructure compliance by September 13, 2019, the Court may
                  impose sanctions of up to $1,000,000.00 per day, until the date of
                  compliance, as determined by the court.

09/22/2019        Final Unified Regulatory Reporting Policy. The Company will          Policy implemented in Global HESS
                  adopt and implement a final new policy that addresses the comments September 19, 2019
                  it received from the Interested Parties, the CAM, and the TPA on the
                  draft new policy in the Company’s Environmental Management
                  System that will govern the reporting requirements for discharges
                  according to United States federal and state laws.

09/23/2019        [Sanctions.] If the Company fails to submit an action plan to           --
                  restructure compliance by September 23, 2019, the Court may




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                  impose sanctions of up to $10,000,000.00 per day, until the date of
                  compliance, as determined by the court.

10/09/2019        [Sanctions.] If, by October 9, 2019, the Company fails to complete    --
                  implementation of certain tasks enumerated in September 13, 2019
                  compliance action plan, the Court may impose sanctions of up to
                  $1,000,000.00 per day, until the date of compliance, as determined
                  by the Court.

10/09/2019        Environmental Corporate Compliance Manager Promotion. The Environmental Corporate Compliance
                  Company will elevate the Environmental Corporate Compliance Manager promoted from Vice President to
                  Manager.                                                    Senior Vice President on May 17, 2019

10/09/2019        Chief Ethics and Compliance Officer Charter and Job                   Submitted September 13, 2019; update
                  Description. The Company will create the Chief Ethics and             submitted October 9, 2019
                  Compliance Officer charter and job description.

10/09/2019        Chief Ethics and Compliance Officer Appointment. The                  Chief Ethics and Compliance Officer
                  Company will appoint the Chief Ethics and Compliance Officer.         officially assumed duties August 12, 2019

10/09/2019        Executive Compliance Committee. The Company will create the           Submitted September 13, 2019; update
                  Executive Compliance Committee.                                       submitted October 9, 2019

10/09/2019        Annual Training Curriculum for Boards of Directors. The               Submitted October 9, 2019
                  Company will create an annual training curriculum for members of
                  its Boards of Directors that would include corporate compliance
                  topics.

10/09/2019        Boards’ Statement on Commitment to Compliance. The                    Submitted October 9, 2019
                  Company’s Boards of Directors will adopt a new written statement




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                 that reiterates the Company’s and the Boards’ commitment to
                 compliance.

10/31/2019       Food Waste Disposal Technologies Analysis. The Company shall            Submitted October 31, 2019
                 review and provide an analysis of: (1) new food waste disposal
                 technologies; (2) options for redesign of existing food waste
                 disposal systems and associated processes; and (3) the optimization
                 of food waste disposal systems and associated processes.

11/01/2019       [Sanctions.] If the Company fails to complete implementation of         --
                 certain tasks to restructure compliance by November 1, 2019, the
                 Court may impose sanctions of up to $10,000,000.00 per day, until
                 the date of compliance, as determined by the Court.

01/31/2020       Food Waste Management Implementation Plan (Part 3). The                 TBD
                 Company shall provide to the Interested Parties, TPA, and CAM an
                 implementation plan to optimize food waste management, including
                 food waste disposal systems and associated processes, specifying
                 projects, the project owners, and specific timetables for milestones.

12/31/2021       Single-Use Plastic Reduction. The Company shall reduce the              TBD
                 purchase and consumption of single-use plastic items across the
                 corporate fleet by 50 percent.

12/31/2021       Food Waste Weight Reduction. The Company shall reduce the               TBD
                 total weight of food waste that the Company creates by 10 percent.




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